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                         EXHIBIT A
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                                                                                          A STOCK COMPANY




                               MARKEL INSURANCE COMPANY
                                                Ten Parkway North
                                                Deerfield, IL 60015




   INSURANCE POLICY

   Coverage afforded by this policy is provided by the Company (Insurer) and named in the Declarations.




   In Witness Whereof, the company (insurer) has caused this policy to be executed and attested and countersigned by
   a duly authorized representative of the company (insurer) identified in the Declarations.




                          Secretary                                          President




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                                                 PRIVACY NOTICE

We are committed to safeguarding your privacy. We understand your concerns regarding the privacy of your nonpublic
personal information. No nonpublic personal information is required to be collected when you visit our websites; however,
this information may be requested in order to provide the products and services described. We do not sell nonpublic
personal information to non-affiliated third parties for marketing or other purposes. We only use and share this type of
information with non-affiliated third parties for the purposes of underwriting insurance, administering your policy or claim
and other purposes as permitted by law, such as disclosures to insurance regulatory authorities or in response to legal
process. Notwithstanding the foregoing, we may use this information for the purpose of marketing our own products and
services to you.
We collect nonpublic personal information about you from the following sources:
       Information we receive from you on applications or other forms;
       Information about your transactions with us, our affiliates, or others; and/or
       Information we receive from consumer reporting agencies and inspection reports.
We do not disclose any nonpublic personal information about our customers/claimants or former customers/claimants to
anyone, except as permitted by law.
We may disclose nonpublic personal information about you to the following types of third parties:
       Service providers, such as insurance agents and/ or brokers and claims adjusters; and/or
       Other non-affiliated third parties as permitted by law.
We restrict access to nonpublic personal information about our customers/claimants to those individuals who need to
know that information to provide products and services to our customers/claimants or as permitted by law. We maintain
physical, electronic, and procedural safeguards to guard your nonpublic personal information.


Residents of California:
You may request to review and make corrections to recorded non-public personal information contained in our files. A
more detailed description of your rights and practices regarding such information is available upon request. Please
contact your agent/broker for instructions on how to submit a request to us.




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                         MARKEL INSURANCE COMPANY



                             NEW YORK FREE TRADE ZONE
                                  (Classes 1 and 2)




                                           NOTICE
       THESE POLICY FORMS AND THE APPLICABLE RATES ARE
     EXEMPT FROM THE FILING REQUIREMENTS OF THE NEW YORK
     INSURANCE LAW AND REGULATIONS. HOWEVER, THE FORMS
    AND RATES MUST MEET THE MINIMUM STANDARDS OF THE NEW
            YORK INSURANCE LAW AND REGULATIONS.




  New York Free Trade Zone Classification : Class 2 - 2-50003 - Directors and Officers Liability
  Insurance - Private Company Package Policies




MPIL 1044-NY 08 12                                                                                 Page 1 of 1
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                                       MARKEL INSURANCE COMPANY

                      U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                                  ASSETS CONTROL ("OFAC")
                             ADVISORY NOTICE TO POLICYHOLDERS


No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your Declarations page for complete information on the coverages you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued by
OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
       Foreign agents;
       Front organizations;
       Terrorists;
       Terrorist organizations; and
       Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treasury's web
site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC. When an insurance policy is considered to be such a blocked or frozen contract, no
payments nor premium refunds may be made without authorization from OFAC. Other limitations on the premiums and
payments also apply.




MPIL 1083 04 15                  Includes copyrighted material of Insurance Services Office, Inc.           Page 1 of 1
                                                      with its permission.
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                                                                                                   MANAGEMENT LIABILITY




                                 MARKEL INSURANCE COMPANY

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



               POLICYHOLDER DISCLOSURE NOTICE OF CERTIFIED ACTS
                           OF TERRORISM COVERAGE

Disclosure You are hereby notified that under the Terrorism Risk Insurance Act as amended in 2015 the definition of
terrorism has changed. As defined in Section 102(1) of the Act: The term “act of terrorism” means any act that is certified
by the Secretary of the Treasury—in consultation with the Secretary of Homeland Security, and the Attorney General of
the United States—to be an act of terrorism; to be a violent act or an act that is dangerous to human life, property, or
infrastructure; to have resulted in damage within the United States, or outside the United States in the case of an air
carrier or vessel or the premises of a United States mission; and to have been committed by an individual or individuals as
part of an effort to coerce the civilian population of the United States or to influence the policy or affect the conduct of the
United States Government by coercion.
Under the Act, any losses resulting from certified acts of terrorism may be partially reimbursed by the United States
Government under a formula established by the Terrorism Risk Insurance Act as amended. However, your policy may
contain other exclusions which might affect your coverage, such as an exclusion for nuclear events. The Act requires the
Insurer to also notify you that Terrorism Coverage required to be offered by the Act for losses caused by certified acts of
terrorism is partially reimbursed by the United States Government under a formula established by federal law. Under this
formula, the United States Government generally reimburses 85% through 2015; 84% beginning on January 1, 2016; 83%
beginning on January 1, 2017; 82% beginning on January 1, 2018; 81% beginning on January 1, 2019 and 80% beginning
on January 1, 2020 of covered terrorism losses exceeding the statutorily established deductible paid by the insurance
company providing the coverage.
The Terrorism Risk Insurance Act as amended, contains a $100 billion cap that limits United States Government
reimbursement as well as insurers’ liability for losses resulting from certified acts of terrorism when the amount of such
losses exceeds $100 billion in any one calendar year. If the aggregate insured losses for all insurers exceed $100 billion,
your coverage may be reduced.
Disclosure Of Premium
Certified acts of terrorism coverage is provided for no additional premium.




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                         MARKEL INSURANCE COMPANY


                     NEW YORK DEFENSE WITHIN LIMITS NOTICE

PLEASE NOTE THAT DEFENSE COSTS ARE CONTAINED WITHIN THE LIMIT OF LIABILITY AND THE
DEDUCTIBLE.
THIS MEANS THAT THE LIMIT OF LIABILITY AND THE DEDUCTIBLE SPECIFIED IN THE DECLARATIONS OF THIS
POLICY SHALL BE REDUCED, AND MAY BE COMPLETELY EXHAUSTED BY DEFENSE COSTS.
IN THE EVENT THAT THE LIMIT OF LIABILITY IS EXHAUSTED, THE INSURER SHALL NOT BE LIABLE FOR
DEFENSE COSTS OR FOR ANY DAMAGES, JUDGMENTS OR SETTLEMENTS.
PLEASE READ YOUR POLICY CAREFULLY.




MPML 1012-NY 01 16                                                                   Page 1 of 1
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                              MARKEL INSURANCE COMPANY
                                NEW YORK CLAIMS-MADE NOTICE

 The coverage provided by this policy is on a claims-made basis with defense costs inside the limits of
 insurance. The insurance shall apply to claims first made against the insured during the policy period and any
 extended discovery period.
 The insurance provides no coverage for claims arising out of incidents, occurrences or alleged wrongful acts
 which took place prior to the retroactive date stated in the Declarations.
 The coverage provided covers only claims actually made against the insured while the policy remains in effect
 and all coverage provided ceases upon the termination of the policy, except for the automatic extended
 reporting period coverage, unless you purchase the optional extended reporting period coverage.
 An Automatic Extended Reporting Period will be provided without additional charge. This period will start with
 the termination of the policy and will last for sixty (60) days. An additional Optional Extended Reporting Period
 is available at your option, for a charge, for one (1), two (2), or three (3) years upon your written acceptance to
 us within the greater of sixty (60) days from the effective date of the termination of coverage or thirty (30) days
 from the date of mailing or delivery of our advisement of the Automatic Extended Reporting Period and the
 availability of the Optional Extended Reporting Period.
 When the automatic, or optional (if purchased), extended reporting period ends, there exists the potential for
 gaps in coverage where the insured will not be covered for claims made after the expiration of such extended
 reporting periods.
 The rates for claims-made coverage are comparatively lower than the rates for occurrence coverage during the
 first several years of the claims-made relationship. However, you can expect substantial annual premium
 increases for this coverage until the claims-made relationship reaches maturity.




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                                 MARKEL INSURANCE COMPANY


                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   TRADE OR ECONOMIC SANCTIONS

The following is added to this policy:
Trade Or Economic Sanctions
This insurance does not provide any coverage, and we (the Company) shall not make payment of any claim or provide
any benefit hereunder, to the extent that the provision of such coverage, payment of such claim or provision of such
benefit would expose us (the Company) to a violation of any applicable trade or economic sanctions, laws or regulations,
including but not limited to, those administered and enforced by the United States Treasury Department’s Office of
Foreign Assets Control (OFAC).


All other terms and conditions remain unchanged.




MIL 1214 09 17                                                                                              Page 1 of 1
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                                                                MARKEL INSURANCE COMPANY



            FOR PROFIT MANAGEMENT LIABILITY POLICY DECLARATIONS
Claims Made Coverage: The coverage afforded by this policy only applies to Claims that are first made against the
Insured during the Policy Period or the Extended Reporting Period, if purchased.
Notice: If purchased pursuant to Item 5. below, the Insurer shall have the duty to defend covered Claims. Claim
Expenses shall reduce the Limit of Liability and any applicable Retention under this policy, unless otherwise stated in an
endorsement to this policy. Please read the policy carefully.

POLICY NUMBER: MKLC1MML000060                               RENEWAL OF POLICY: New

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF
THIS POLICY, THE INSURER AGREES WITH THE PARENT COMPANY TO PROVIDE THE
INSURANCE AS STATED IN THIS POLICY.

Item 1. Parent Company and Address (No., Street, Town or City, State, Zip Code)
LRN Corporation
745 5th Ave Ste 800
New York, NY 10151-0099

Item 2. Policy Period

From 12/17/2018 to 12/17/2019, at 12:01 A.M. Standard Time at the address shown above.


Item 3. Extended Reporting Period
 $GGLWLRQDO3UHPLXP                            $GGLWLRQDO3HULRG<HDU V

           3HUFHQWRI$QQXDOL]HG3UHPLXP
          6WDWHGLQ,WHPEHORZ                                <HDURI,QWHUYDO
                                                                                          1
                           100%
                                                                                            3
                           150%
                                                                                            6
                           175%



Item 4. Policy Premium
$ 83,002.00 Payable at inception


Producer Number, Name and Address
212970
Lockton Companies, LLC
1185 Avenue of the Americas, Suite 2010
New York, NY 10036




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Item 5. Coverage Schedule
This policy includes only those Coverage Parts designated below by “X” as purchased. If a Coverage Part is not expressly
designated as purchased, this policy does not include such Coverage Part.
          Coverage Part              Coverage         Coverage Part        Coverage Part   Coverage Part    Coverage
                                        Part         Limits of Liability   Retention and    Pending or     Part Duty to
                                     Purchased                              Coinsurance     Prior Date       Defend
                                                                            Percentage
A. Directors and Officers and          Yes        $ 5,000,000             Coinsurance                           Yes
   Company Liability                                                       Percentage
                                                   Each Claim
                                                                           0%
                                                   $ 5,000,000
                                                   Aggregate

    1. Insuring Agreement A:                                               $0               05/13/2002
       Insured Person Liability
                                                                           Each Claim


    2. Insuring Agreement B:                                               $ 25,000         05/13/2002
       Company Reimbursement                                               Each Claim


    3. Insuring Agreement C:                                               $ 25,000         05/13/2002
       Company Liability                                                   Each Claim


    4. Insuring Agreement D:                       Derivative Demand                        05/13/2002
       Derivative Demand                           Investigation Costs
       Investigation Costs                         Sublimit:
                                                   $ 150,000

B. Employment Practices and            Yes        Employment              Coinsurance      05/13/2002           Yes
   Third Party Discrimination                      Practices Liability:    Percentage
   Liability
                                                   $ 5,000,000             0%
                                                   Each Claim
                                                                           $ 75,000
                                                   $ 5,000,000             Each Claim
                                                   Aggregate

                                                   Third Party             Coinsurance      05/13/2002     Yes
                                                   Discrimination          Percentage
                                                   Liability:
                                                                           0%
                                                   $ 5,000,000
                                                                           $ 75,000
                                                   Each Claim
                                                                           Each Claim
                                                   $ 5,000,000
                                                   All Claims

                                                   Wage and Hour
                                                   Claims:
                                                   Sublimit:
                                                   Not Purchased




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C. Fiduciary Liability                  Yes       $ 10,000,000             Coinsurance        05/13/2002 Yes
                                                   Each Claim               Percentage
                                                   $ 10,000,000             0%
                                                   Aggregate                $0
                                                                            Each Claim
                                                Voluntary Settlement
                                                Programs Sublimit:
                                                $ 100,000
No Retention shall apply to Non-Indemnifiable Loss incurred by Insured Persons under any Coverage Part, except as
required by state law.

Item 6. Coverage Parts Which Share an Aggregate Limit of Liability
   A. Directors and Officers and Company Liability
   B. Employment Practices and Third Party Discrimination Liability
   C. Fiduciary Liability
   D. None

Item 7. Combined Aggregate Limit of Liability

$20,000,000        All Loss (including Claim Expenses) under all purchased Coverage Parts, combined.

Item 8. Other Coverage Extensions Limits
$$GGLWLRQDO&ODLP([SHQVHV3ROLF\$JJUHJDWH/LPLWRI/LDELOLW\ $OOSXUFKDVHG&RYHUDJH3DUWV 
%$GGLWLRQDO1RQ,QGHPQLILDEOH/RVV$JJUHJDWH/LPLWRI/LDELOLW\ 'LUHFWRUV 2IILFHUV&RYHUDJH3DUW 
&6XESRHQD/LPLW 'LUHFWRUV 2IILFHUV&RYHUDJH3DUW 150,000
'/LPLWIRU+,3$$&ODLPV 'LUHFWRUV 2IILFHUV&RYHUDJH3DUW 100,000
(/LPLWIRU'LOXWLRQ&ODLPV 'LUHFWRUV 2IILFHUV&RYHUDJH3DUW 150,000
)/LPLWIRU+,3$$&ODLPVDQG&2%5$&ODLPV )LGXFLDU\/LDELOLW\&RYHUDJH3DUW 100,000
*/LPLWIRU33$&$&ODLPV )LGXFLDU\/LDELOLW\&RYHUDJH3DUW 250,000
+/LPLWIRU'LVFORVXUH3URYLVLRQ3HQDOWLHV )LGXFLDU\/LDELOLW\&RYHUDJH3DUW 250,000
,/LPLWIRU6HWWORU&DSDFLW\&ODLPV )LGXFLDU\/LDELOLW\&RYHUDJH3DUW 250,000

Item 9. Forms and Endorsements
Forms and Endorsements applying to the Coverage Part(s) made part of this policy at time of issue:
See MDIL 1001 08 10 attached.




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Item 10. Notices
Notices required to be provided to the Insurer under this policy shall be by email, fax or mail addressed to:
CLAIM, POTENTIAL CLAIM AND LOSS NOTICES:                         ALL OTHER NOTICES:

E-mail: newclaims@markelcorp.com                                 Markel Northeast Region, a division of Markel Service,
Fax: (855) 662-7535                                                      Incorporated
                                                                 310 Highway 35 South,
Claims Service Center                                            Red Bank, NJ 07701
MARKEL SERVICE, INCORPORATED                                     Telephone: (732) 224-0500
Ten Parkway North                                                Fax: (866) 730-1027
Deerfield, Illinois 60015



These declarations, together with the General Terms and Conditions, Coverage Part(s) and
any Endorsements(s), and any applications complete the above numbered policy.
                        03/06/2019
                   Countersignature Date


                                                                              _____________________________
                                                                              AUTHORIZED REPRESENTATIVE




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                                                                         POLICY NUMBER: MKLC1MML000060




                        MARKEL INSURANCE COMPANY


                                      FORMS SCHEDULE

FORM NUMBER             FORM NAME
MJIL 1000 06 10         Policy Jacket
MPIL 1007 03 14         Privacy Notice
MPIL 1044-NY 08 12      New York Free Trade Zone (Classes 1 and 2)
MPIL 1083 04 15         US Treasury Dept's Office Of Foreign Assets Control ("OFAC") Notice
MPML 1003 01 15         Confirmation of Certified Acts of Terrorism
MPML 1012-NY 01 16      New York Defense Within Limits Notice
MPML 1013-NY 01 16      New York Claims Made Notice
MIL 1214 09 17          Trade Or Economic Sanctions
MDML 1000 01 16         For Profit Management Liability Policy Declaration
MDIL 1001 08 10         Forms Schedule V5
MML 1000 01 16          General Terms and Conditions
MML 1001 01 16          Directors and Officers and Company Liability Coverage Part
MML 1002 01 16          Employment Practices & Third Party Discrimination Liability Coverage Part
MML 1003 01 16          Fiduciary Liability Coverage Part
MML 1223 01 15          Certified Acts of Terrorism Coverage
MML 1232-NY 01 16       Extended Reporting Period Election Endorsement
MML 1267-NY 01 16       Databreach Coverage Parts Endorsement
MML 1340 08 15          Exclusion - Broad Professional Liability
MML 1347 01 16          Specific Matter Exclusion
MML 1365 01 16          Consumer Protection Exclusion
MML 1475-NY 01 16       New York Free Trade Zone Amendatory Endorsement
MML MANUSCRIPT-1        Separate Retention for CA Claims




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                                                                                          MARKEL INSURANCE COMPANY

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                                                                                                MANAGEMENT LIABILITY




                                MARKEL INSURANCE COMPANY

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                 GENERAL TERMS AND CONDITIONS
In consideration of the premium paid and in reliance upon the statements made and information furnished to the Insurer in
the Application, which is made a part hereof, and subject to the terms, conditions and limitations of this policy, the
Insurer and the Insureds agree as follows:

SECTION I – TERMS AND CONDITIONS
This policy is comprised of these GENERAL TERMS AND CONDITIONS, the Declarations, various Coverage Parts and
endorsements, if applicable, and the Application. Although various Coverage Parts may be referenced in this policy, a
Coverage Part is included within this policy only if that Coverage Part is stated as being purchased in the Coverage
Schedule in Item 5. of the Declarations. Further a Coverage Extension shall be available only if a Limit amount is stated in
the Declarations for each such extension.
Except for these GENERAL TERMS AND CONDITIONS or unless stated to the contrary in any Coverage Part or
endorsement, the terms and conditions of each Coverage Part of this policy apply only to that Coverage Part and shall not
apply to any other Coverage Part of this policy. Any defined term referenced in the GENERAL TERMS AND
CONDITIONS but defined in a Coverage Part shall, for purposes of coverage under that Coverage Part, have the
meaning set forth in that Coverage Part. If any provision in the GENERAL TERMS AND CONDITIONS is inconsistent or
in conflict with the terms and conditions of any Coverage Part, the terms and conditions of such Coverage Part shall
control for purposes of that Coverage Part.
Throughout this policy, the term Insurer refers to the insurance company named in the Declarations providing this
insurance.
SECTION II – DEFINITIONS
When used in this policy, the following terms are defined as follows and appear in bold throughout this policy:
A.    Application means all materials and information, including all signed applications and any materials attached
      thereto or incorporated therein, submitted by or on behalf of the Insureds to the Insurer in connection with the
      underwriting of this policy or any policy issued by the Insurer of which this policy is a direct or indirect renewal or
      replacement.
      The Application is deemed attached to and incorporated into this policy.
B.    Claim means, with respect to each purchased Coverage Part, those matters defined as a Claim in each such
      Coverage Part. For the purpose of the Employment Practices and Third Party Discrimination Liability Coverage
      Part, if purchased, Claim includes any Employment Practices Claim and Third Party Discrimination Claim and
      Wage and Hour Claim.
C.    Claim Expenses means reasonable and necessary fees, costs and expenses incurred by:
      1.    The Insurer, if duty to defend coverage has been purchased for the applicable Coverage Part;
      2.    The Insureds, if duty to defend coverage has not been purchased for the applicable Coverage Part;
      In the defense or appeal of that portion of any Claim for which coverage is afforded under this policy, including
      without limitation court costs, costs of bonds to release attachments and similar bonds, but without any obligation of
      the Insurer to apply for or furnish any such bonds; provided, however, that Claim Expenses shall not include
      salary, wages, overhead, benefit expenses or charges of any kind associated with Insured Persons or the Insurer.


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D.   Company means, collectively, the Parent Company and its Subsidiaries, including any such organization as a
     debtor in possession under United States bankruptcy law or an equivalent status under the law of any other country.
E.   Domestic Partner means any natural person qualifying as a domestic partner under the provisions of any
     applicable federal, state or local law or under the provisions of any formal program established by the Company.
F.   Electronic Communications System means any wired, wireless, radio, electromagnetic, photo-optical or photo-
     electronic facility for the transmission of electronic communications; any electronic data processing system, network
     or related electronic equipment for the storage of such communications; and any computer.
G.   Employee means the following:
     1.    Any natural person in the regular service of the Company in the ordinary course of the Company’s business
           and whom the Company compensates by salary, wages and/or commissions and has the right to govern and
           direct in the performance of such service, including any such natural person who is a leased, temporary, part-
           time or seasonal employee or intern of the Company;
     2.    Any natural person independent contractor who is treated under applicable law as an employee of the
           Company;
     3.    Any Volunteer of the Company; and
     4.    Solely with respect to the coverage afforded under the EMPLOYMENT PRACTICES AND THIRD PARTY
           DISCRIMINATION LIABILITY COVERAGE PART, provided such Coverage Part is purchased and attached to
           this policy, any applicant for employment with the Company.
H.   Employment Practices Claim means a Claim, as defined in the applicable Coverage Part, brought by or on behalf
     of any past, present, future or prospective Employee of the Company against any Insured for a Wrongful
     Employment Practice or a Wrongful Internet Activity.
I.   Executive Officer means, with respect to any Company, any natural person who was, now is or shall during the
     Policy Period become such Company’s president, chief executive officer, chief operating officer, chief financial
     officer or in-house general counsel or the functional equivalent of any of the foregoing positions.
J.   Extended Reporting Period means the period described in Item 3.B. of the Declarations, if purchased, pursuant to
     SECTION VI C. of these GENERAL TERMS AND CONDITIONS, or if such option is not purchased pursuant to
     SECTION VI C., Extended Reporting Period refers to any Retired Director or Officer Extended Reporting
     Period, if purchased, pursuant to SECTION VI D. or any Former Subsidiary Extended Reporting Period, if
     purchased, pursuant to SECTION VI E. of these GENERAL TERMS AND CONDITIONS.
K.   Extradition means any formal process by which any Insured Person located in any country is or is sought to be
     surrendered to any other country for trial, or otherwise to answer any criminal accusation, for a Wrongful Act.
L.   Financial Impairment means the status of the Company resulting from:
     1.    The appointment of any receiver, conservator, liquidator, trustee, rehabilitator or similar official to control,
           supervise, manage or liquidate the Company, or
     2.    The Company becoming a debtor in possession.
M.   Former Subsidiary Extended Reporting Period means the period, if purchased, pursuant to SECTION VI E.,
     FORMER SUBSIDIARY EXTENDED REPORTING PERIOD, of these GENERAL TERMS AND CONDITIONS.
N.   Insured means, with respect to each purchased Coverage Part, the entities, Plans and natural persons defined as
     an Insured in each such Coverage Part.
O.   Insured Person means, with respect to each purchased Coverage Part, any natural person defined as an Insured
     Person in each such Coverage Part.
P.   Interrelated Wrongful Acts means all Wrongful Acts, including all Wrongful Employment Practices, that have
     as a common nexus any fact, circumstance, situation, event, transaction, cause or series of related facts,
     circumstances, situations, events, transactions or causes.
Q.   Loss means, with respect to each purchased Coverage Part, the amounts defined as Loss in each such Coverage
     Part.
R.   Manager means, with respect to any Company that is a limited liability company, any natural person who was, now
     is or shall during the Policy Period become such Company's manager, managing member, member of the board
     of managers or equivalent executive.

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S.   Non-Indemnifiable Loss means Loss incurred by an Insured Person for which the Company is not permitted by
     common or statutory law to indemnify or is not financially able to indemnify by reason of Financial Impairment.
T.   Parent Company means the organization stated in Item 1. of the Declarations.
U.   Plans means the plans and programs defined as Plans in the FIDUCIARY LIABILITY COVERAGE PART, if
     purchased.
V.   Policy Period means the period stated in Item 2. of the Declarations, subject to prior cancellation or termination.
W.   Pollutants means any substance located anywhere in the world exhibiting any hazardous characteristics as defined
     by, or identified on a list of hazardous substances issued by, the United States Environmental Protection Agency or
     a state, county, municipality or locality counterpart thereof. Pollutants also means any other air emission, odor,
     waste water, oil or oil products, infectious or medical waste, asbestos or asbestos products, silica, noise, fungus
     (including mold, mildew and any mycotoxins, spores, scents or byproducts produced or released by fungi, but not
     any fungi intended by the Insured for consumption) and electric or magnetic or electromagnetic field. Such matters
     shall include, without limitation, solids, liquids, gaseous, thermal, biological, nuclear or radiological irritants,
     contaminants or smoke, soot, fumes, acids, alkalis, chemicals or waste materials.
X.   Potential Unauthorized Access means the threat or potential threat of an Unauthorized Access arising from a
     theft or loss of any component of the Company’s Electronic Communications System.
Y.   Private Data means data containing an individual's:
     1.    Driver’s license or other state-issued identification number; social security number; unpublished telephone
           number; savings account, checking account, credit card or debit card number each when in combination with
           the security code, access code, password or pin for such account or card number;
     2.    "Nonpublic personal information" as defined in the Gramm-Leach Bliley Act of 1999, as amended, and
           regulations issued pursuant thereto;
     3.    "Protected healthcare information" as defined in the Health Insurance Portability and Accountability Act of
           1996 (HIPAA), as amended, and regulations issued pursuant thereto, and medical and healthcare
           information;
     4.    Private personal information as defined under a Security Breach Notice Law; and
     5.    Private personal information as defined under the law of a country other than the United States, which law is
           intended to provide for the protection of such private personal information;
     Not including any lawfully available data accessible by the general public.
Z.   Retired Director or Officer means any Insured Person who, during the Policy Period, retired from: (i) serving
     and no longer serves as a duly elected or appointed director, trustee, governor, Manager, officer, advisory director,
     or member of a duly constituted committee or board of the Company or their functional equivalent; and (ii) serving
     and no longer serves any Company, Outside Entity, or Plan as an Insured Person in any capacity under this
     policy.
AA. Retired Director or Officer Extended Reporting Period means the period, if purchased, pursuant to SECTION VI
    D., RETIRED DIRECTOR OR OFFICER EXTENDED REPORTING PERIOD, of these GENERAL TERMS AND
    CONDITIONS.
BB. Security Breach Notice Law means any law, statute or regulation within the United States of America, its
    territories or possessions, Puerto Rico or Canada requiring the Company to notify individuals of the compromise or
    possible compromise of the security of their confidential information in the Company’s care, custody or control and
    the European Union (EU) Data Protection Act of 1995.
CC. Subsidiary means:
     1.    Any organization in which more than fifty percent (50%) of the outstanding securities or voting rights
           representing the present right to vote for the election of directors or equivalent position is owned, in any
           combination, by one or more other Company(ies);
     2.    Any organization in which one or more other Company(ies), in any combination, have the right, pursuant to a
           written contract with or the by-laws, charter, operating agreement or similar document of such organization, to
           elect or appoint a majority of the directors or equivalent position of such organization;



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      3.   Any foundation, charitable trust or political action committee controlled or exclusively sponsored by one or
           more other Company(ies); and
      4.   Any organization operated as a joint venture in which, on or prior to the inception date stated in Item 2. of the
           Declarations, the Parent Company owns, directly or through one or more Subsidiaries, exactly fifty percent
           (50%) of the organization’s outstanding securities with voting rights and, under a written agreement with the
           organization’s remaining owners, has sole control of the organization’s management and operations.
DD. Third Party Discrimination Claim means a Claim, as defined in the applicable Coverage Part, other than an
    Employment Practices Claim, which is brought by or on behalf of any natural person who is a customer or client
    of the Company and who is not an Insured Person or an applicant for employment with the Company, for a
    Wrongful Act or a Wrongful Internet Activity either of which constitutes an actual or alleged violation of any law
    or public policy concerning discrimination or sexual harassment. Provided, however, there shall be no coverage for
    Third Party Discrimination Claims if the Third Party Discrimination Liability limits stated in Item 5.B. of the
    Declarations are shown to be $0 or Not Purchased.
EE.   Unauthorized Access means a breach of the Company’s security measures, systems, procedures, or stated
      privacy policy, or any intentional violation, interception, or use or misuse of the Company’s Electronic
      Communications System, whether or not for profit or gain, by any person, without the permission, knowledge or
      ratification of the Insured. Unauthorized Access also includes:
      1.   Access to the Company’s Electronic Communications System that is with the Insured’s permission where
           such permission is the result of fraud or deception;
      2.   Use of the Company’s Electronic Communications System by a party authorized by the Insured to use
           such system, who does so for an unauthorized purpose;
      3.   The introduction of programs into the Company’s Electronic Communications System which contain
           fraudulent or destructive instructions or code including any inadvertent transmission of such programs to a
           third party;
      4.   A credible threat or an extortion demand received by the Company threatening or portending loss, injury or
           damage to:
           a.    The Company’s Electronic Communications System, including programs, electronic data and media
                 which form a part of the Company’s Electronic Communications System; or
           b.    Money, securities, bonds or similar financial instruments, solely to the extent that record of such is
                 maintained in digital or electronic format on the Company’s Electronic Communications System;
           For the purpose of extorting money or other valuable consideration from the Company;
      5.   Failure to prevent a denial of service attack on the Company’s Electronic Communications System or to
           prevent the use of the Company’s Electronic Communications System by an unauthorized user or code to
           launch a denial of service attack on a third party;
      6.   The theft or loss of any paper records; and
      7.   The failure of any third party to prevent the unauthorized viewing, copying or distribution of Private Data
           which the Company has entrusted to such party under a written contract or agreement that specifically
           requires such party to protect the confidentiality of the Private Data so entrusted.
FF.   Unintentional Data Compromise means any computer security incident, intrusion, breach, compromise, theft, loss
      or misuse of the Company’s customer's(s') and/or Employee's(s') Private Data.
GG. Volunteer means any natural person who is not an Employee and who donates his or her services and acts at the
    direction of and within the scope of duties determined by the Company and who is not paid a fee, salary or other
    compensation by the Company or by any other party for the services performed for the Company.
HH. Wrongful Act means, with respect to each purchased Coverage Part, any act, error, omission and other matter
    defined as a Wrongful Act in each such Coverage Part. For purposes of SECTION I - INSURING AGREEMENTS
    A. in the EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART if
    purchased, Wrongful Act means a Wrongful Employment Practice. For purposes of SECTION II - EXTENSIONS
    A. in the EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART if
    purchased, Wrongful Act means a Wage and Hour Wrongful Act.



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II.   Wrongful Employment Practice means any of the following actual or alleged acts, errors or omissions by the
      Insured Persons in their capacity as such or by the Company:
      1.   Wrongful termination (including constructive discharge) of an Employee;
      2.   Violation of any law or public policy concerning discrimination in employment whether based upon age, race,
           national origin, religion, sex, sexual preference, marital status, disability, medical leave or genetic
           predisposition;
      3.   Employment-related torts including without limitation wrongful termination, failure or refusal to hire or promote;
           wrongful discipline; wrongful reference, deprivation of a career opportunity, demotion or adverse change in
           terms, conditions or status of employment; wrongful failure to grant tenure; humiliation; retaliation for
           asserting a legal right; workplace harassment or bullying including without limitation offensive, intimidating,
           coercive or unwelcome conduct, advances, contact or communications; negligent hiring, retention,
           supervision, training or performance evaluation; and employment-related misrepresentation, defamation,
           invasion of privacy or infliction of emotional distress; or
      4.   Violation of any other employment-related law, rule or regulation, including without limitation any civil rights or
           fair employment practices law;
      Wrongful Employment Practice does not include a Wage and Hour Wrongful Act.
JJ.   Wrongful Internet Activity:
      1.   For purposes of SECTION I - INSURING AGREEMENTS A. in the EMPLOYMENT PRACTICES AND THIRD
           PARTY DISCRIMINATION LIABILITY COVERAGE PART if purchased, means actual or alleged acts, errors
           or omissions as described in the definition of Wrongful Employment Practice:
           a.    Which are carried out by an Employee; and
           b.    Which acts, errors or omissions are carried out by means of the Internet, including but not limited to
                 social networking activities regardless of whether such Internet activity is during or outside of work
                 hours or on or off work premises.
      2.   For purposes of SECTION I - INSURING AGREEMENTS B. in the EMPLOYMENT PRACTICES AND THIRD
           PARTY DISCRIMINATION LIABILITY COVERAGE PART if purchased, means any actual or alleged error,
           misstatement, misleading statement, act, omission, neglect, or breach of duty:
           a.    Which are carried out by an Employee; and
           b.    Which error, misstatement, misleading statement, act, omission, neglect, or breach of duty is carried
                 out by means of the Internet, including but not limited to social networking activities regardless of
                 whether such Internet activity is during or outside of work hours or on or off work premises.
SECTION III – LIMITS OF LIABILITY, RETENTION, COINSURANCE AND SINGLE CLAIMS
A.    LIMITS OF LIABILITY
      1.   Combined Aggregate Limit of Liability
           The amount stated in Item 7. of the Declarations shall be the Insurer’s maximum aggregate liability for all
           Loss covered under all Coverage Parts, combined, for all Claims first made during the Policy Period and the
           Extended Reporting Period, if exercised.
      2.   Coverage Part Limits of Liability
           a.    Directors and Officers and Company Liability Coverage Part Each Claim Limit: The Limit of Liability for
                 each Claim under each Insuring Agreement in the DIRECTORS AND OFFICERS LIABILITY
                 COVERAGE PART, SECTION I – INSURING AGREEMENTS A., B. and C., if purchased, for all Loss
                 on account of each Claim first made during the Policy Period and the Extended Reporting Period, if
                 exercised, shall be as stated in Item 5. of the Declarations.
           b.    Employment Practices and Third Party Discrimination Liability Coverage Part Each Claim Limits:
                 (1)   The Limit of Liability for each Claim under EMPLOYMENT PRACTICES AND THIRD PARTY
                       DISCRIMINATION LIABILITY COVERAGE PART SECTION I – INSURING AGREEMENTS A.,
                       Employment Practices Liability Coverage, if purchased, for all Loss on account of each Claim



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                       first made during the Policy Period and the Extended Reporting Period, if exercised, shall be
                       as stated in Item 5. of the Declarations.
                 (2)   The Limit of Liability for each Claim under the EMPLOYMENT PRACTICES AND THIRD PARTY
                       DISCRIMINATION LIABILITY COVERAGE PART SECTION I – INSURING AGREEMENTS B.,
                       Third Party Discrimination Liability Coverage, if purchased, for all Loss on account of each Claim
                       first made during the Policy Period and the Extended Reporting Period, if exercised, shall be
                       as stated in Item 5. of the Declarations.
          c.     Fiduciary Liability Coverage Part Each Claim Limit: The Limit of Liability for each Claim under each
                 Insuring Agreement in the FIDUCIARY LIABILITY COVERAGE PART, SECTION I – INSURING
                 AGREEMENTS A. and B., if purchased, for all Loss on account of each Claim first made during the
                 Policy Period and the Extended Reporting Period, if exercised, shall be as stated in Item 5. of the
                 Declarations.
          d.     Coverage Part Aggregate Limit of Liability: The respective Limit of Liability for each Coverage Part, as
                 stated in the Coverage Schedule in Item 5. of the Declarations, shall be the Insurer’s maximum
                 aggregate liability under each such Coverage Part for all Loss on account of all Claims first made
                 during the Policy Period and the Extended Reporting Period, if exercised. The Limit of Liability for
                 each Coverage Part shall be part of and not in addition to the Combined Aggregate Limit of Liability as
                 stated in Item 7. of the Declarations.
     3.   Coverage Parts Which Share a Limit of Liability
          Notwithstanding SECTION III A.2., the Insurer’s maximum aggregate liability for all Loss covered under all
          Coverage Parts which share a Limit of Liability, as stated in Item 6. of the Declarations, shall be the
          larger(est) of the amounts stated in Item 5. of the Declarations as the Aggregate Limit of Liability for each
          Coverage Part which shares a Limit of Liability. Such shared Limit of Liability shall be part of and not in
          addition to the Combined Aggregate Limit of Liability as stated in Item 7. of the Declarations. This paragraph
          further limits the Insurer’s maximum liability under each such Coverage Part and does not increase the
          respective separate Limit of Liability for each Coverage Part.
     4.   Claim Expenses Within Limit of Liability
          Claim Expenses are part of and not in addition to the applicable Limit of Liability, and the payment by the
          Insurer of Claim Expenses reduces such Limit of Liability. If the applicable Limit of Liability is exhausted by
          payment of Loss, the Insurer’s obligations, including without limitation any duty to defend, shall be completely
          fulfilled and extinguished.
B.   RETENTION
     1.   Each Claim Retention
          The Insurer’s liability with respect to Loss for each specific type of Claim shall apply only to that part of Loss
          which is excess of the applicable Retention stated in the Coverage Schedule in Item 5. of the Declarations,
          and such Retention shall be borne by the Insured uninsured and at the Insured's own risk. No Retention
          shall apply to Non-Indemnifiable Loss incurred by an Insured Person, except as required by state law.
     2.   Retention Credit for Early Settlements
          Notwithstanding the foregoing, the Retention applicable to a Claim against an Insured will be reduced by the
          lesser of twenty-five percent (25%) or ten thousand dollars ($10,000), provided all of the following conditions
          are met:
          a.     The Insured provides the Insurer written notice of such Claim within thirty (30) days after it is first made
                 and such notice is otherwise consistent with the policy’s terms and conditions;
          b.     The Insurer recommends to the Insured a settlement of the Claim within the applicable Limit of
                 Liability;
          c.     The Insured consents to such settlement within ninety (90) days of the date it provided the Insurer
                 notice of such Claim; and
          d.     The Claim settles under the terms recommended by the Insurer and consented to by the Insured.




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C.   COINSURANCE
     Solely with respect to Loss (other than Non-Indemnifiable Loss) in excess of the applicable Retention for any
     Claim, the Company shall bear uninsured at its own risk, the applicable percentage of each Loss stated in the
     Coverage Schedule in Item 5. of the Declarations as the Coinsurance Percentage and the Insurer's liability for Loss
     shall apply only to the remaining percentage of such Loss.
D.   SINGLE CLAIM
     All Claims which arise out of the same Wrongful Act or Interrelated Wrongful Acts of the Insured shall be
     deemed one Claim, and such Claim shall be deemed to be first made on the date the earliest of such Claims is
     first made against any Insured, regardless of whether such date is before or during the Policy Period or any
     Extended Reporting Period.
E.   SINGLE CLAIM COVERED BY MULTIPLE COVERAGE PARTS
     If a single Claim as described in SECTION III D. is covered in whole or in part under more than one Coverage Part
     of this policy:
     1.    The applicable Retention under each such Coverage Part shall be applied with respect to Loss incurred
           under such Coverage Part, provided the sum of all applicable Retentions under all such Coverage Parts shall
           not exceed the larger(est) of such applicable Retentions; and
     2.    The remaining applicable Limits of Liability under each such Coverage Part shall apply with respect to Loss
           incurred under such Coverage Part, provided the Insurer’s maximum aggregate liability for all Loss covered
           under all such Coverage Parts, combined, on account of such Claim shall not exceed the larger(est) of such
           remaining applicable Limits of Liability. This SECTION III E.2. does not increase the Insurer’s maximum
           liability with respect to such Claim, which is also subject to the Combined Aggregate Limit of Liability as
           stated in Item 7. of the Declarations and any shared Limit of Liability described in SECTION III A.3.
SECTION IV – DEFENSE, SETTLEMENT AND COOPERATION
A.   DEFENSE AND SETTLEMENT
     1.    If duty to defend coverage is purchased with respect to any Coverage Part as stated in the Coverage
           Schedule in Item 5. of the Declarations:
           a.    The Insurer shall have the right and duty to defend any Claim covered under such Coverage Part, even
                 if any of the allegations are groundless, false or fraudulent. The Insurer’s duty to defend any Claim
                 shall cease upon exhaustion of the Limit of Liability applicable to such Claim.
           b.    If the law of the state of the Parent Company's domicile allows the Insureds to control the selection of
                 defense counsel where a conflict of interest has arisen between the Insureds and the Insurer, the
                 Insurer will provide to the Insureds a list of attorneys or law firms from which the Insureds may
                 designate defense counsel who shall act solely in the interest of the Insureds, and the Insureds shall
                 direct such defense counsel to cooperate with the Insurer. Such cooperation shall include:
                 (1)   Providing to the Insurer on a regular basis, but not less frequently than every three (3) months,
                       written reports on claimed damages, potential liability, progress of any litigation, any settlement
                       demands, or any investigation developments that materially affect the Claim;
                 (2)   Providing to the Insurer any other reasonable information requested by the Insurer;
                 (3)   Providing to the Insurer fully itemized Claim Expenses billings on a periodic basis; and
                 (4)   Good faith efforts to resolve any Claim Expenses disputes with the Insurer and the Insureds.
                 Fees and costs incurred by such defense counsel at the Insurer’s request or to cooperate with the
                 Insurer, as set forth above, shall be included in Claim Expenses.
     2.    If duty to defend coverage is not purchased with respect to any Coverage Part as stated in the Coverage
           Schedule in Item 5. of the Declarations, it shall be the duty of the Insureds and not the duty of the Insurer to
           defend any Claim covered under such Coverage Part. Solely with respect to such Coverage Part, the Insurer
           shall advance covered Claim Expenses on a current basis. Any advancement of covered Claim Expenses
           shall be repaid to the Insurer by the Insureds severally according to their respective interests if and to the




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           extent it is later determined the Insureds shall not be entitled under the terms and conditions of this policy to
           coverage for such Claim Expenses.
     3.    With respect to any Coverage Part:
           a.     The Insureds agree not to settle or offer to settle any Claim, incur any Claim Expenses or otherwise
                  assume any contractual obligation, admit any liability or stipulate to any judgment with respect to any
                  Claim, without the Insurer’s written consent, which shall not be unreasonably withheld. The Insurer
                  shall not be liable for or as a result of any offer to settle, settlement, Claim Expenses, assumed
                  obligation, admission or stipulated judgment to which it has not given its prior written consent.
           b.     The Insurer shall have the right and shall be given the opportunity to make any investigation it deems
                  necessary and to effectively associate with the Insureds in the investigation, defense and settlement,
                  including but not limited to the negotiation of a settlement, of any Claim that is or reasonably could be
                  covered in whole or in part by the Coverage Part.
     4.    The Insurer may, with the consent of an Insured against whom a Claim is made, make any settlement of
           such Claim against such Insured if such Claim is covered under a Coverage Part. If the Insured withholds
           consent to any such settlement acceptable to the claimant, the Insurer’s liability for all Loss on account of
           such Claim shall not exceed the sum of:
           a.     The amount for which the Insurer could have settled such Claim;
           b.     Claim Expenses accrued as of the date such settlement was proposed in writing by the Insurer to the
                  Insured; and
           c.     Eighty percent (80%) of all covered Loss incurred thereafter on account of such Claim.
B.   COOPERATION
     With respect to all purchased Coverage Parts, the Insureds agree to provide the Insurer with all information,
     assistance, and cooperation which the Insurer reasonably requests and agree that in the event of a Claim, the
     Insureds will do nothing that shall prejudice the Insurer’s position or its potential or actual rights of recovery.
     Without limiting the foregoing and upon the Insurer's request, the Insureds shall: (1) submit to examination and
     interview by a representative of the Insurer and while not in the presence of any other Insured, under oath if
     required; (2) attend hearings, depositions, arbitrations, mediations and trials; and (3) assist in effecting settlement,
     and securing and giving evidence; all without cost to the Insurer, other than expenses and loss of earnings if
     provided pursuant to the following paragraph.
     If an Insured Person attends any hearing, deposition, arbitration, mediation or trial at the Insurer’s written request,
     and upon receipt by the Insurer of satisfactory written proof of loss, the Insurer shall reimburse the Insured Person
     the following amounts:
     1.    All reasonable and necessary out-of-pocket expenses, other than Claim Expenses, incurred by the Insured
           Person for such attendance; and
     2.    Up to five hundred dollars ($500) per day for loss of earnings attributable to such attendance.
     The Insurer’s maximum liability for all such expenses and loss of earnings attributable to all Claims covered under this
     policy shall be fifteen thousand dollars ($15,000), which is in addition to and not part of the Limits of Liability stated in
     Items 5. and 7. of the Declarations.
SECTION V – REPORTING AND NOTICE
A.   NOTICE OF CLAIMS
     With respect to any purchased Coverage Part:
     1.    As a condition precedent to their rights under such Coverage Part, the Insureds shall give to the Insurer
           written notice of any Claim made against the Insureds as soon as practicable after an Executive Officer or
           an employee of the Company’s office of general counsel, risk management or functionally equivalent
           departments, if any, first learns of such Claim, but in no event later than: (i) ninety (90) days after expiration
           of the Policy Period; or (ii) the expiration of the Extended Reporting Period, if exercised.




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     2.    The Insureds shall include within any notice of Claim a description of the Claim, the nature of the alleged
           Wrongful Act, the nature of the alleged or potential damage, the names of the claimants, and the date and
           manner in which the Insureds first became aware of the Claim.
B.   DISCOVERY OF POTENTIAL CLAIMS
     With respect to any purchased Coverage Part, if during the Policy Period or the Extended Reporting Period, if
     exercised, the Insured becomes aware of any circumstance that could give rise to a Claim against the Insured and
     gives written notice of such circumstance containing the information listed below to the Insurer during the Policy
     Period or the Extended Reporting Period, if exercised, then any Claim subsequently arising therefrom shall be
     deemed for the purpose of this insurance to have been first made on the date on which such written notice is
     received by the Insurer.
     It is a condition precedent to the coverage afforded by this SECTION V B. that such written notice to the Insurer
     contain the following information:
     1.    A description and date of the Wrongful Act which could be alleged in the potential Claim;
     2.    The injury or damage which has or may result from such Wrongful Act;
     3.    The identity of the Insureds who may be the subject of the potential Claim;
     4.    The identity of potential claimants; and
     5.    The manner and time in which the Insureds first became aware of such circumstance or Wrongful Act.
     The Insurer, at its sole option, may investigate such circumstance or Wrongful Act.
C.   NOTICE
     Any notice to the Insurer pursuant to this SECTION V shall designate under which Coverage Part(s) the notice is
     given, and such notice shall not be deemed to be an effective notice under any other Coverage Part(s).
     Except as otherwise provided in this policy, all notices to the Insurer shall be in writing and given to the Insurer at
     the applicable address stated in Item 10. of the Declarations. All notices to the Insureds may be given to the
     Parent Company at the address stated in Item 1. of the Declarations.
SECTION VI – COVERAGE EXTENSIONS
A.   ESTATES, LEGAL REPRESENTATIVES, SPOUSES AND DOMESTIC PARTNERS
     The estates, heirs, legal representatives, assigns, spouses and Domestic Partners of Insured Persons shall be
     considered an Insured Person but only for a Claim arising solely out of their status as such and, in the case of a
     spouse or Domestic Partner, where such Claim seeks damages from marital community property, jointly held
     property or property transferred from the Insured Person to the spouse or Domestic Partner. No coverage is
     provided for any wrongful act or omission of an estate, heir, legal representative, assign, spouse or Domestic
     Partner. All provisions in these GENERAL TERMS AND CONDITIONS and the respective Coverage Part
     applicable to Loss incurred by the Insured Person shall also apply to loss incurred by such estates, heirs, legal
     representatives, assigns, spouses and Domestic Partners.
B.   ADDITIONAL CLAIM EXPENSES POLICY AGGREGATE LIMIT OF LIABILITY
     The Additional Claim Expenses Policy Aggregate Limit of Liability stated in Item 8.A. of the Declarations shall apply
     to any covered Claim Expenses which would be paid except for the exhaustion of the Combined Aggregate Limit of
     Liability stated in Item 7. of the Declarations, including any applicable Sublimits, under all purchased Coverage
     Parts of this insurance. This Additional Claim Expenses Policy Aggregate Limit of Liability is the most the Insurer
     will pay in any one Policy Period regardless of the number of Claims made or Coverage Parts affected. In no
     event will this additional Limit apply until the entire policy’s Combined Aggregate Limit of Liability is exhausted.
     Provided, however, there shall be no Additional Claim Expenses Policy Aggregate Limit of Liability if such Limit
     amount is stated in Item 8.A. of the Declarations to be $0 or Not Purchased.
C.   EXTENDED REPORTING PERIOD
     If the Insurer or the Parent Company cancels or nonrenews this policy other than for nonpayment of premium, the
     Insureds shall have the right, upon payment of the applicable additional premium stated in Item 3.A of the
     Declarations, to an extension of the coverage granted by this policy for the respective period stated in Item 3.B of




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     the Declarations immediately following the effective date of such cancellation or nonrenewal, but such extension of
     coverage shall only apply to Claims first made against the Insureds during such period for any Wrongful Act
     which happened prior to the effective date of such cancellation or nonrenewal.
     This right of extension shall lapse unless written notice of such election, together with payment of the additional
     premium due, is given by the Insureds to the Insurer within thirty (30) days following the effective date of
     cancellation or nonrenewal. If such written request and payment of additional premium are not received by the
     Insurer within such thirty (30) days, there shall be no right to purchase the Extended Reporting Period at a later
     date.
     The quotation of a different premium, Retention, Coinsurance, Limit of Liability or other coverage terms at renewal
     does not constitute a cancellation or nonrenewal for the purpose of this SECTION VI C. The entire additional
     premium for the Extended Reporting Period shall be deemed fully earned at the inception of the Extended
     Reporting Period.
     The Insureds shall be entitled to elect only one Extended Reporting Period under this policy. The Extended
     Reporting Period shall not in any way increase the Limits of Liability stated in Items 5. and 7. of the Declarations.
D.   RETIRED DIRECTOR OR OFFICER EXTENDED REPORTING PERIOD
     If the Insurer or the Parent Company cancels or nonrenews this policy other than for nonpayment of premium and
     the right to elect an Extended Reporting Period under SECTION VI C. of these GENERAL TERMS AND
     CONDITIONS expires with no election of any Extended Reporting Period, any Retired Director or Officer alone
     or if more than one Retired Director or Officer so elects, in concert with all other electing Retired Director(s) or
     Officer(s), may purchase a Retired Director or Officer Extended Reporting Period by providing the Insurer
     written notice of his, her or their election within thirty (30) days of when the right under SECTION VI C. of these
     GENERAL TERMS AND CONDITIONS expires.
     Coverage under such Retired Director or Officer Extended Reporting Period will apply: (1) only to a Claim first
     made against an electing Retired Director or Officer during such period for any Wrongful Act which happened
     prior to the date on which such electing Retired Director or Officer became qualified as such; and (2) only to Non-
     Indemnifiable Loss incurred by the electing Retired Director(s) or Officer(s); and (3) otherwise subject to the
     terms and conditions of this policy.
     Promptly after receiving written notice of an election, the Insurer shall notify the electing Retired Director(s) or
     Officer(s) of the additional premium due for his, her or their Retired Director or Officer Extended Reporting
     Period. Coverage is conditioned upon the Insurer’s receipt of payment in full of such additional premium within
     fifteen (15) days of the Insurer’s notice of the amount due.
     Such coverage also will apply only in excess of the amount of any deductibles, retentions, co-insurance and limits of
     liability under any other valid and collectible policy that insures Loss resulting from such a Claim, whether such
     other policy is stated to be primary, contributory, excess, contingent, or otherwise, and even if such other policy is
     written specifically excess of this policy by reference to this policy’s policy number or otherwise. For example, if
     such other policy has a Policy Period that overlaps with a purchased Retired Director or Officer Extended
     Reporting Period, any coverage under this Retired Director or Officer Extended Reporting Period would be
     excess of the amount of any deductible, retention, co-insurance and limits of liability under such other policy,
     regardless of what the other policy says about how it applies when there is other insurance. The wording of this
     paragraph will control over SECTION XI of these GENERAL TERMS AND CONDITIONS, OTHER INSURANCE.
     The purchase by any Retired Director or Officer alone or if more than one Retired Director or Officer so elects,
     in concert with all other electing Retired Director(s) or Officer(s), of a Retired Director or Officer Extended
     Reporting Period under this policy will not mean that each Retired Director or Officer will have a personal Limit of
     Liability for himself or herself or that the Retired Directors or Officers will have any additional or increased Limit of
     Liability that applies to them collectively as a group. The purchase of a Retired Director or Officer Extended
     Reporting Period under this policy is not a purchase of an additional or increased Limit of Liability. The Limits of
     Liability stated in Items 5., 6. and 7. of the Declarations and remaining available will apply to such Claims, subject
     to the policy’s GENERAL TERMS AND CONDITIONS including, without limitation, SECTION III LIMITS OF
     LIABILITY, RETENTION, COINSURANCE AND SINGLE CLAIMS.
     Coverage under this Retired Director or Officer Extended Reporting Period otherwise is subject to all other
     terms and conditions of the policy.




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E.    FORMER SUBSIDIARY EXTENDED REPORTING PERIOD
      If the Insurer or the Parent Company cancels or nonrenews this policy other than for nonpayment of premium and
      the right to elect an Extended Reporting Period under SECTION VI C. of these GENERAL TERMS AND
      CONDITIONS expires with no election of any Extended Reporting Period, and the right to elect a Retired
      Director or Officer Extended Reporting Period under SECTION VI D. of these GENERAL TERMS AND
      CONDITIONS expires with no election of any Retired Director or Officer Extended Reporting Period, any entity
      which during the Policy Period ceased to be a Subsidiary alone, or if more than one entity which during the Policy
      Period ceased to be Subsidiaries so elect, in concert with all other electing former Subsidiary(ies), may purchase
      a Former Subsidiary Extended Reporting Period by providing the Insurer written notice of such former
      Subsidiary’s(ies’) election within thirty (30) days of when the right under SECTION VI D. of these GENERAL
      TERMS AND CONDITIONS expires.
      Coverage under such Former Subsidiary Extended Reporting Period will apply: (1) only to a Claim first made
      against such electing, former Subsidiary(ies) during such period for any Wrongful Act which happened prior to
      such former Subsidiary’s(ies’) last day as a Subsidiary; and (2) otherwise subject to the terms and conditions of
      this policy.
      Promptly after receiving written notice of an election, the Insurer shall notify the electing former Subsidiary(ies) of
      the additional premium due for its or their Former Subsidiary Extended Reporting Period. Coverage is
      conditioned upon the Insurer’s receipt of payment in full of such additional premium within fifteen (15) days of the
      Insurer’s notice of the amount due.
      Such coverage also will apply only in excess of the amount of any deductibles, retentions, co-insurance and limits of
      liability under any other valid and collectible policy that insures Loss resulting from such a Claim, whether such
      other policy is stated to be primary, contributory, excess, contingent, or otherwise, and even if such other policy is
      written specifically excess of this policy by reference to this policy’s policy number or otherwise. For example, if
      such other policy has a Policy Period that overlaps with a purchased Former Subsidiary Extended Reporting
      Period, any coverage under this Former Subsidiary Extended Reporting Period would be excess of the amount
      of any deductible, retention, co-insurance and limits of liability under such other policy, regardless of what the other
      policy says about how it applies when there is other insurance. For purposes of this policy, the wording of this
      paragraph will control over SECTION XI of these GENERAL TERMS AND CONDITIONS, OTHER INSURANCE.
      The purchase by any former Subsidiary alone or if more than one former Subsidiary so elects, in concert with all
      other electing former Subsidiary(ies), of a Former Subsidiary Extended Reporting Period under this policy will
      not mean that each former Subsidiary will have a personal Limit of Liability for itself or that the former
      Subsidiary(ies) will have any additional or increased Limit of Liability that applies to them collectively as a group.
      The purchase of a Former Subsidiary Extended Reporting Period under this policy is not a purchase of an
      additional or increased Limit of Liability. The Limits of Liability stated in Items 5., 6. and 7. of the Declarations and
      remaining available will apply to such Claims, subject to the policy’s GENERAL TERMS AND CONDITIONS
      including, without limitation, SECTION III LIMITS OF LIABILITY, RETENTION, COINSURANCE AND SINGLE
      CLAIMS.
      Coverage under this Former Subsidiary Extended Reporting Period otherwise is subject to all other terms and
      conditions of the policy.
SECTION VII – ALLOCATION
With respect to all purchased Coverage Parts, if in any Claim the Insureds incur both Loss covered by this policy and
loss not covered by this policy because such Claim includes both covered and uncovered matters, the Insureds and
the Insurer shall allocate such amount as follows:
1.    If the Insurer has the duty to defend such Claim pursuant to Item 5. of the Declarations, one hundred percent
      (100%) of the Insureds’ Claim Expenses shall be allocated to covered Loss; and
2.    All other loss described above shall be allocated between covered Loss and uncovered loss based upon the
      relative legal and financial exposures of the parties to covered and uncovered matters.
Notwithstanding the foregoing, if a Claim is made against both Insureds who are afforded coverage for such Claim and
any other party(ies) who is(are) not afforded coverage for such Claim, the Insurer shall have no obligation with regard to
legal fees and expenses, settlements, or judgments incurred by any such other party(ies) who is(are) not afforded




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coverage for such Claim. Any legal fees, settlements or judgments resulting from such Claim shall be allocated between
covered Loss and uncovered loss based upon the relative legal and financial exposures of the parties.
In any arbitration, suit or other proceeding among the Insurer and the Insureds or the Company, no presumption shall
exist concerning what is a fair and proper allocation between covered Loss and uncovered loss.
SECTION VIII – CHANGES IN EXPOSURE
A.   NEW ORGANIZATIONS
     1.    If before or during the Policy Period the Company acquires or creates a new Subsidiary or acquires an
           entity by merger or consolidation, coverage under this policy automatically shall apply to the new organization
           and its Insureds, provided such coverage shall apply only with respect to any Claim for a Wrongful Act
           taking place after such acquisition or creation, and shall be subject to paragraphs 2. and 3. below.
     2.    If:
           a.    Such newly acquired organization has issued any publicly-owned debt or equity securities;
           b.    The total assets of such newly acquired organization exceeds twenty-five percent (25%) of the total
                 assets of the Parent Company as reflected in their respective most recent audited consolidated
                 financial statements;
           c.    Solely with respect to the Employment Practices and Third Party Discrimination Liability Coverage Part,
                 if purchased, the total number of Employees of all Companies increases by more than twenty-five
                 percent (25%) as an immediate result of such acquisition, merger or consolidation; or
           d.    Solely with respect to the Fiduciary Liability Coverage Part, if purchased, the total assets of all Plans of
                 such newly acquired organization exceeds twenty-five percent (25%) of the total assets of all other
                 Plans of all Companies as reflected in their respective most recent financial statements;
           Then coverage under such Coverage Part as provided in paragraph 1. above shall terminate as of the earlier
           of: (i) the end of the Policy Period or the Extended Reporting Period if exercised; or (ii) ninety (90) days
           after such acquisition, merger or consolidation.
     3.    The Insurer may agree to extend the coverage described in paragraph 2. above if, within such ninety (90)
           days, the Parent Company provides any additional information, pays any additional premium and agrees to
           any additional terms and conditions reasonably required by the Insurer for such extension of coverage. In
           such event, the Insurer shall issue an endorsement to this policy confirming such coverage extension.
B.   ACQUISITION OF PARENT COMPANY
     If during the Policy Period the Parent Company merges into or consolidates with another organization such that
     the Parent Company is not the surviving entity, or another organization or person or group of organizations and/or
     persons acting in concert acquires securities or voting rights which result in ownership or voting control by the other
     organization(s) or person(s) of more than fifty percent (50%) of the outstanding securities representing the present
     right to vote for the election of directors, trustees or equivalent executives of the Parent Company, then coverage
     under this policy shall continue until the end of the Policy Period or the Extended Reporting Period if exercised,
     provided such coverage shall apply only with respect to any Claim for a Wrongful Act taking place prior to such
     merger, consolidation or acquisition.
C.   CESSATION OF SUBSIDIARIES
     If before or during the Policy Period an organization ceases to be a Subsidiary, coverage with respect to such
     Subsidiary and its Insureds shall continue until the end of the Policy Period or the Extended Reporting Period if
     exercised, provided such coverage shall apply only with respect to any Claim for a Wrongful Act taking place prior
     to the date such organization ceased to be a Subsidiary.
D.   CESSATION OF PLANS
     If before or during the Policy Period a Plan is terminated, coverage for such Plan and its Insureds under the
     FIDUCIARY LIABILITY COVERAGE PART, if purchased, shall continue until the end of the Policy Period or the
     Extended Reporting Period if exercised, with respect to any Claim for a Wrongful Act taking place before or after
     such termination.




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SECTION IX – REPRESENTATIONS, SEVERABILITY AND NON-RESCINDABLE COVERAGES
A.    REPRESENTATIONS
      The Insureds represent and acknowledge that the representations, statements and information contained in the
      Application are true and complete, are the basis of this policy and are to be considered as incorporated into and
      constituting a part of this policy. The Insurer has relied upon the representations, statements and information
      contained in the Application, including materials attached thereto, completed by or on behalf of the Parent
      Company designated in Item 1. of the Declarations and such application(s) is/are made a part of this policy and
      operates as the Insurer’s own Application. This policy is issued in reliance upon the truth and completeness of
      such representations.
B.    SEVERABILITY
      The Application shall be construed as a separate application for coverage by each of the Insureds. If with respect
      to any Coverage Part the Application contains any material misrepresentation or omission, then such Coverage
      Part shall be void ab initio as to:
      1.    Any Company to the extent such Company indemnifies an Insured Person who knew the facts that were
            not truthfully disclosed in the Application; and
      2.    Any Company and its Subsidiaries and Plan(s) if an Executive Officer of such Company knew the facts
            that were not truthfully disclosed in the Application;
      Whether or not such Executive Officer or Insured Person knew the Application contained such
      misrepresentation or omission. No knowledge of one Insured Person shall be imputed to any other Insured
      Person for purposes of this SECTION IX.
C.    NON-RESCINDABLE COVERAGES
      The Insurer shall not have the right to rescind or void, in whole or in part, the coverage provided under any
      Coverage Part for any Non-Indemnifiable Loss incurred by the Insured Persons.
SECTION X – CANCELLATION AND NONRENEWAL
A.    CANCELLATION
      The Parent Company may cancel this policy or any Coverage Part by mailing to the Insurer written notice stating
      when thereafter such cancellation shall be effective. The Insurer may cancel this policy or any Coverage Part only
      for nonpayment of premium. In such event, the Insurer shall mail or deliver to the Parent Company written notice of
      cancellation stating when, not less than ten (10) days thereafter, such cancellation shall be effective. If this policy is
      cancelled, the Insurer will compute earned premium pro rata. The cancellation will be effective even if the Insurer
      has not made or offered a premium refund.
B.    NONRENEWAL
      If the Insurer decides not to renew this policy, the Insurer will mail or deliver to the Parent Company written notice
      of non-renewal at least sixty (60) days prior to the end of the Policy Period.
SECTION XI – OTHER INSURANCE
If any Loss resulting from any Claim is insured by any other valid and collectible policy issued to any Insured, then this
policy shall apply only in excess of the amount of any deductibles, retentions, co-insurance and limits of liability under
such other policy whether such other policy is stated to be primary, contributory, excess, contingent or otherwise, unless
such other policy is written specifically excess of this policy by reference in such other policy to this policy’s policy number.
With regard to coverage for any leased employees or independent contractors who are included in the definition of
Employee, this policy shall be specifically excess of any indemnification or insurance otherwise available to such leased
employees or independent contractors from the applicable leasing company or any other source.
SECTION XII – SUBROGATION
In the event of any payment under this policy, the Insurer shall be subrogated to the extent of such payment to all the
Insureds’ rights of recovery, including without limitation any right of recovery from the Company for Loss incurred by
Insured Persons which is indemnifiable by the Company. The Insureds shall execute all papers required and shall do
everything necessary to secure and preserve such rights, including the execution of such documents necessary to enable


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 the Insurer effectively to bring suit in the name of the Insureds. In any subrogation claim against the Company to
enforce the Insured Persons’ right of indemnification, the shareholder and board of director resolutions of the Company
shall be deemed to provide indemnification to the fullest extent permitted by law, and the Insurer’s recovery from the
Company for such Loss shall not exceed the Retention applicable to the Company for such Loss. The Insurer shall not
exercise its right of subrogation against an Insured Person with respect to payments under any Coverage Part unless
and to the extent one of the following respective exclusions in such Coverage Part applies to such Insured Person:
             Coverage Part                                                         Exclusions
             Directors and Officers and Company Liability                          SECTION IV I. and J.
             Employment Practices and Third Party Discrimination Liability         SECTION IV F. and G.
             Fiduciary Liability                                                   SECTION IV D.
Any such recoveries, less the cost of obtaining them, will be distributed in the following priority:
A.    First, to the Insureds until they are reimbursed for any Loss that they sustain that exceeds their available
      insurance;
B.    Second, to any insurers of any policies specifically excess of this policy until they are reimbursed for any Loss paid
      under such policies;
C.    Third, to the Insurer until the Insurer is reimbursed for any payment made under this policy;
D.    Fourth, to the Insureds, until they are reimbursed for their payment of any applicable Retention.
SECTION XIII – ALTERATION, ASSIGNMENT AND HEADINGS
No change in, modification of, or assignment of interest under this policy shall be effective except when made by a written
endorsement issued to form a part of this policy.
The titles and headings to the various sections, subsections and endorsements of this policy, as well as the schedule of
endorsements attached to this policy, are included solely for ease of reference and do not in any way limit, expand or
otherwise affect the provisions or existence of such sections, subsections or endorsements.
SECTION XIV – PAYMENT PRIORITY
If the Loss due and owing by the Insurer under a Coverage Part exceeds the then-remaining Limit of Liability applicable
to such Loss, the Insurer shall pay such Loss, subject to the applicable Limits of Liability, in the following priority:
A.    First, the Insurer shall pay such Loss which is Non-Indemnifiable Loss incurred by Insured Persons;
B.    Second, the Insurer shall pay all other Loss covered under the Coverage Part.
Subject to the foregoing paragraph, the Insurer shall, upon receipt of a written request from the Parent Company, delay
any payment of Loss due and owing to the Company until such time as the Parent Company designates, provided the
Insurer’s liability with respect to any such delayed Loss payment shall not be increased, and shall not include any
interest, on account of such delay.
SECTION XV – TERRITORY AND VALUATION
Coverage under any Coverage Part shall extend to Wrongful Acts taking place, Loss incurred, or Claims made
anywhere in the world, to the extent legally permitted.
All premiums, limits, retentions, Loss and other amounts under this policy are expressed and payable in the currency of
the United States of America. If judgment is rendered, settlement is denominated or another element of Loss under this
policy is stated in a currency other than United States dollars, payment under this policy shall be made in United States
dollars at the rate of exchange published in The Wall Street Journal on the date the final judgment is reached, the amount
of the settlement is agreed upon or the other element of Loss is due, respectively.
SECTION XVI – AUTHORIZATION CLAUSE
By acceptance of this policy, the Parent Company agrees to act on behalf of the Insureds with respect to giving and
receiving of notices to and from the Insurer as provided herein, the cancellation of this policy in whole or in part, paying
premiums, Retentions and Coinsurance and receiving any return premiums that may become due under this policy, and
agreeing to endorsements. The Insureds agree that the Parent Company shall act on their behalf with respect to such
matters.



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SECTION XVII – BANKRUPTCY
Bankruptcy or insolvency of any Insured or of the estate of any Insured shall not relieve the Insurer of its obligations nor
deprive the Insurer of its rights or defenses under this policy.
In the event a liquidation or reorganization proceeding is commenced by or against a Company pursuant to the United
States Bankruptcy Code, as amended, or any similar foreign, state or local law, the Company and the Insureds hereby:
(1) waive and release any automatic stay or injunction which may apply in such proceeding to this policy or its proceeds
under such bankruptcy law; and (2) agree not to oppose or object to any efforts by the Insurer, the Company or any
Insured to obtain relief from any such stay or injunction.
SECTION XVIII – EXCLUSIONS
The Insurer shall not be liable under any purchased Coverage Part to pay any Loss on account of, and shall not be
obligated to defend, any Claim made against any Insured:
A.    Based upon, arising out of, or in any way involving any Unauthorized Access, Potential Unauthorized Access,
      Unintentional Data Compromise or any computer security incident, intrusion, breach, compromise, theft, loss or
      use of the Company’s Electronic Communications System.




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                                                                                          MARKEL INSURANCE COMPANY




      DIRECTORS AND OFFICERS AND COMPANY LIABILITY COVERAGE PART

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                                                                                               MANAGEMENT LIABILITY




                               MARKEL INSURANCE COMPANY

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     DIRECTORS AND OFFICERS AND COMPANY LIABILITY COVERAGE PART
SECTION I – INSURING AGREEMENTS
A.   INSURED PERSON LIABILITY COVERAGE
     The Insurer shall pay on behalf of the Insured Persons all Loss for which the Insured Persons are not
     indemnified by the Company and which the Insured Persons become legally obligated to pay on account of any
     Claim first made against Insured Persons, individually or otherwise, during the Policy Period or any applicable
     Extended Reporting Period, if purchased, for a Wrongful Act taking place before or during the Policy Period.
B.   COMPANY REIMBURSEMENT COVERAGE
     The Insurer shall pay on behalf of the Company all Loss for which the Company grants indemnification to the
     Insured Persons, as permitted or required by law, and which the Insured Persons have become legally obligated
     to pay on account of any Claim first made against Insured Persons, individually or otherwise, during the Policy
     Period or any applicable Extended Reporting Period, if purchased, for a Wrongful Act taking place before or
     during the Policy Period.
C.   COMPANY LIABILITY COVERAGE
     The Insurer shall pay on behalf of the Company all Loss which the Company becomes legally obligated to pay on
     account of any Claim first made against the Company during the Policy Period or any applicable Extended
     Reporting Period, if purchased, for a Wrongful Act taking place before or during the Policy Period.
D.   DERIVATIVE DEMAND INVESTIGATION COSTS
     The Insurer shall pay on behalf of the Company all Investigative Costs on account of a Securityholder
     Derivative Demand first received by the Company during the Policy Period or any applicable Extended
     Reporting Period, if purchased, for a Wrongful Act taking place before or during the Policy Period, provided: (i)
     the Insurer’s maximum liability for all Investigative Costs covered under this INSURING AGREEMENTS D. shall
     be the respective Sublimit amount stated in the Coverage Schedule in Item 5. of the Declarations, which is part of
     and not in addition to the Combined Aggregate Limit of Liability as stated in Item 7. of the Declarations and the
     Aggregate Limit of Liability for this Coverage Part; and (ii) no Retention shall apply to this INSURING
     AGREEMENTS D.
SECTION II – EXTENSIONS
A.   PUBLIC COMPANY COVERAGE QUOTE
     If during the Policy Period the Parent Company:
     1.    Gives prior written notice to the Insurer that a Company intends to publicly offer or sell any debt or equity
           securities or to otherwise become a publicly-held organization described in Section 12(g) of the Securities and
           Exchange Act of 1934, as amended (hereafter Public Transaction); and
     2.    Provides to the Insurer all information requested by the Insurer with respect to the Public Transaction;
     The Insurer shall provide to the Company as soon as practicable a quotation for coverage under the Insurer’s
     Public Company Directors and Officers Insurance Policy, provided such coverage if purchased shall be subject to
     such terms, conditions, limits, retentions and premium as the Insurer may require in its sole discretion. This
     SECTION II A. shall not impact the Insurer’s ability to cancel or non-renew this policy as provided in SECTION X of
     the GENERAL TERMS AND CONDITIONS.


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B.    OUTSIDE POSITION COVERAGE
      Subject to the other terms and conditions applicable to this Coverage Part, INSURING AGREEMENTS A. and
      INSURING AGREEMENTS B. include coverage for Insured Persons while serving in an Outside Position. Such
      coverage shall be specifically excess of any indemnification and insurance available from or provided by the
      Outside Entity in which the Insured Person serves in the Outside Position. Payment by the Insurer or any
      affiliate of the Insurer under another policy as a result of a Claim against an Insured Person in an Outside
      Position shall reduce, by the amount of such payment, the Insurer’s Limit of Liability under this policy with respect
      to such Claim.
C.    ADDITIONAL NON-INDEMNIFIABLE LOSS AGGREGATE LIMIT OF LIABILITY
      The Additional Non-Indemnifiable Loss Aggregate Limit of Liability stated in Item 8.B. of the Declarations shall
      apply to any covered Non-Indemnifiable Loss which would be paid except for the exhaustion of the total of all
      available Limits of Liability, including any other applicable Limits, under this Coverage Part. This Additional Non-
      Indemnifiable Loss Aggregate is the most the Insurer will pay in any one Policy Period regardless of the number
      of Claims made. In no event will this additional limit apply until the entire policy’s Combined Aggregate Limit of
      Liability is exhausted. Provided, however, there shall be no Additional Non-Indemnifiable Loss Aggregate Limit of
      Liability if such Limit amount is stated in Item 8.B. of the Declarations to be $0 or Not Purchased.
D.    SUBPOENA EXTENSION AND LIMIT
      Solely with respect to INSURING AGREEMENTS A. the Insurer shall pay on behalf of the Insured Persons all
      Loss which the Insured Persons becomes legally obligated to pay on account of only those Claims as are
      included in Item 8. of the definition of Claim, first made against the Insured Persons during the Policy Period or
      any applicable Extended Reporting Period, if purchased.
      The applicable Limit of Liability stated in Item 8.C. of the Declarations shall apply to such Claims which is the
      Insurer’s maximum Limit of Liability for all Loss on account of such Claims as are included in Item 8. of the
      definition of Claim; provided there shall be no coverage for any such Claim as is included in Item 8. of the definition
      of Claim if such Limit amount is stated in Item 8.C. of the Declarations to be $0 or Not Purchased.
E.    HIPAA CLAIMS EXTENSION AND LIMIT
      The Insurer shall pay on behalf of the Insureds all Claim Expenses and Civil Penalties for which the Insureds
      become legally obligated to pay on account of a HIPAA Claim first made against the Insureds during the Policy
      Period or any Extended Reporting Period, if purchased, for a Wrongful Act taking place before or during the
      Policy Period.
      The applicable Limit of Liability stated in Item 8.D. of the Declarations shall apply to such HIPAA Claims which is
      the Insurer’s maximum Limit of Liability for all Claim Expenses and Civil Penalties arising from all HIPAA Claims;
      provided there shall be no coverage for any such HIPAA Claim if such Limit amount is stated in Item 8.D. of the
      Declarations to be $0 or Not Purchased.
F.    DILUTION CLAIMS EXTENSION AND LIMIT
      The Insurer shall pay on behalf of the Insureds all Loss which the Company becomes legally obligated to pay on
      account of a Dilution Claim first made against the Insureds during the Policy Period or any Extended Reporting
      Period, if purchased, for a Wrongful Act taking place before or during the Policy Period.
      The applicable Limit of Liability stated in Item 8.E. of the Declarations shall apply to such Dilution Claims which is
      the Insurer’s maximum Limit of Liability for all Loss arising from all Dilution Claims; provided there shall be no
      coverage for any such Dilution Claim if such Limit amount is stated in Item 8.E. of the Declarations to be $0 or Not
      Purchased.
SECTION III – DEFINITIONS
When used in this Coverage Part, the following terms are defined as follows:
A.    Civil Penalties means only those civil penalties imposed upon an Insured for violation of the Consolidated
      Omnibus Budget Reconciliation Act of 1985, as amended, or the privacy provisions of the Health Insurance
      Portability and Accountability Act of 1996, as amended, arising on account of a HIPAA Claim.




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B.   Claim means:
     1.    A written demand against an Insured for monetary damages or non-monetary relief, including a written
           demand that an Insured toll or waive a statute of limitations, commenced by such Insured’s receipt of such
           written demand;
     2.    A civil proceeding against an Insured commenced by the service of a complaint or similar pleading upon such
           Insured;
     3.    A criminal proceeding against an Insured commenced by such Insured’s receipt of an indictment,
           information or similar document;
     4.    An administrative or regulatory proceeding against an Insured commenced by such Insured’s receipt of a
           notice of charges or similar document;
     5.    A civil, criminal, administrative or regulatory investigation of an Insured Person commenced by the service
           upon or other receipt by such Insured Person of a target letter or other written notice from the investigating
           authority identifying by name such Insured Person as an individual against whom a proceeding may be
           commenced;
     6.    An official request for the Extradition of an Insured Person or the execution of a warrant for the arrest of an
           Insured Person where such execution is an element of Extradition, commenced by such Insured Person’s
           receipt of such request or warrant; or
     7.    An arbitration, mediation or other alternative dispute resolution proceeding against an Insured commenced
           by such Insured’s receipt of a demand for such a proceeding;
     For a Wrongful Act, including any appeal therefrom.
     8.    Solely with respect to INSURING AGREEMENTS A. and subject to SECTION II D., Claim also means any
           request, demand or subpoena by a regulatory, administrative, governmental or similar authority to interview or
           depose an Insured Person, or to produce documents by an Insured Person, in his or her capacity as such
           commenced by such Insured Person’s receipt of such a request, demand or subpoena; or
     9.    Solely with respect to INSURING AGREEMENTS D., Claim only means a Securityholder Derivative
           Demand.
C.   Dilution Claim means a Claim brought by an Insured Person as a securities holder of the Company and arising
     out of the actual or alleged dilution of such Insured Person’s ownership interest in the Company, but only if: (a)
     such Claim is in connection with an actual or alleged: (i) sale of all or substantially all of the Company’s property
     and assets under applicable state law; (ii) merger of the Company with or into another entity under applicable state
     law; (iii) consolidation of the Company with one or more other entities into a new entity under applicable state law;
     or (iv) the initial public offering of the Company’s securities; and (b) such Insured Person is not serving as an
     Insured Person on the date such Dilution Claim is first made.
D.   Financial Institution means any entity that provides financial or insurance services for or sells financial or
     insurance products to its clients, customers or members, including without limitation a bank, trust company, credit
     union, investment company, insurance company, securities broker/dealer, insurance broker/agent and any other
     entity whose business involves holding, investing, lending or dealing in money, securities or other financial or
     insurance products.
E.   HIPAA Claim means a Claim for a Wrongful Act alleging, arising out of, based upon or attributable to a violation of
     the privacy provisions of the Health Insurance Portability and Accountability Act of 1996, as amended.
F.   Insured Person, whether in the singular or plural, means:
     1.    Any natural person who was, now is or shall during the Policy Period become a duly elected or appointed
           director, trustee, governor, Manager, officer, advisory director, or member of a duly constituted committee or
           board of the Company or their functional equivalent;
     2.    Any natural person not described in Item 1. above who was, now is or shall during the Policy Period become
           an Employee of the Company; and
     3.    Any natural person described in Item 1. above while serving in an Outside Position;




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     Provided that an Employee described in Item 2. above shall not be considered an Insured Person for purposes of
     SECTION II B., OUTSIDE POSITION COVERAGE, of this Coverage Part and EXCLUSIONS C. or D. in SECTION
     IV of this Coverage Part.
G.   Insured, whether in the singular or plural, means the Insured Persons and, solely with respect to INSURING
     AGREEMENTS B., INSURING AGREEMENTS C. AND INSURING AGREEMENTS D., the Company.
H.   Investigative Costs means reasonable and necessary fees (including attorney’s fees and expert’s fees) and
     expenses (other than wages, salaries, fees or benefits of the directors, officers or employees of the Company)
     incurred by the Company (including its Board of Directors or any committee of its Board of Directors) in
     investigating or evaluating on behalf of the Company whether it is in the best interest of the Company to prosecute
     the allegations in a Securityholder Derivative Demand.
I.   Loss means the total amount the Insured becomes legally obligated to pay on account of covered Claims made
     against them, including, but not limited to, damages (including punitive, exemplary or multiple damages),
     judgments, any award of pre-judgment and post-judgment interest with respect to covered damages, settlements,
     Claim Expenses and civil money penalties assessed against an Insured: (i) pursuant to Section 2(g)(2)(B) of the
     Foreign Corrupt Practices Act, 15 U.S.C. §78dd-2(g)(2)(B); or (ii) for a violation of any federal, state, local or foreign
     law if such violation is not knowing or willful.
     The insurability of such punitive, exemplary or multiple damages and civil money penalties shall be determined
     under the internal laws of any applicable jurisdiction most favorable to the Insured, including without limitation the
     jurisdiction in which the Company, the Insured Person, the Insurer, this policy or such Claim is located.
     Solely with respect to INSURING AGREEMENTS D, Loss only means Investigative Costs.
     Loss does not include any of the following:
     1.    Any amount not indemnified by the Company for which the Insureds are absolved from payment by reason
           of any covenant, agreement or court order;
     2.    Taxes, sanctions, fines or penalties imposed by law, other than civil money penalties expressly referenced
           above;
     3.    Any amount incurred by the Company that represents or is substantially equivalent to an increase in the
           consideration paid or proposed to be paid by a Company in connection with its purchase of any securities or
           assets;
     4.    Any amount incurred by the Company to comply with any injunctive or other non-monetary relief or any
           agreement to provide such relief;
     5.    Any disgorgement or restitution of ill-gotten gain or rescissionary damages; or
     6.    Matters uninsurable under the law pursuant to which this policy is construed.
J.   Outside Entity means:
     1.    Any organization chartered and operated as a not-for-profit organization;
     2.    Any for-profit organization in which the Company owns an equity interest, provided such organization is
           neither a Financial Institution nor an organization whose securities are publicly owned or traded; or
     3.    Any other organization specifically included as an Outside Entity by endorsement to this policy; provided
           such organization is not included in the definition of Company.
K.   Outside Position means the position of director, officer, manager, trustee, governor or other equivalent executive
     position in an Outside Entity held by an Insured Person, if service in such position is with the knowledge and
     consent of, at the direction or request of, or part of the duties regularly assigned to the Insured Person by the
     Company.
L.   Personal Injury means false arrest, wrongful detention or imprisonment, malicious prosecution, defamation
     including libel and slander, invasion of privacy or wrongful entry or eviction.




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M.   Securityholder Derivative Demand means receipt by the Insured of:
     1.    Any written demand, by a securityholder of a Company, upon the Board of Directors or Board of Managers of
           such Company, to bring a civil proceeding in a court of law against an Insured Person for a Wrongful Act;
           or
     2.    Any lawsuit by a securityholder of a Company, brought derivatively on behalf of such Company, against an
           Insured Person for a Wrongful Act without first making a demand as described in Item 1. above.
N.   Wrongful Act means:
     1.    Any actual or alleged error, misstatement, misleading statement, act, omission, neglect, or breach of duty by
           any Insured Person in their capacity as such or in an Outside Position, or with respect to Insuring
           Agreement C, by the Company; or
     2.    Any matter claimed against any Insured Person solely by reason of their serving in such capacity or in an
           Outside Position.
SECTION IV – EXCLUSIONS
The Insurer shall not be liable under this Coverage Part to pay any Loss on account of, and shall not be obligated to
defend, any Claim made against any Insured:
A.   Based upon, arising out of, or in any way involving any fact, circumstance or Wrongful Act which has been the
     subject of any written notice given prior to inception of this policy under any prior directors and officers liability or
     comparable insurance policy or coverage part;
B.   Based upon, arising out of, or in any way involving any Claim against any Insured which was pending on or existed
     prior to the respective Pending or Prior Date stated in the Coverage Schedule in Item 5. of the Declarations, or the
     same or substantially the same fact, circumstance or Wrongful Act alleged or underlying such prior Claim;
C.   Brought or maintained by or on behalf of the Company or any Insured Person in any capacity, provided this
     exclusion shall not apply to:
     1.    A Claim that is a derivative action brought or maintained on behalf of the Company by one or more persons
           who are not Insured Persons if the Claim is brought and maintained without the solicitation or active
           assistance or participation of the Company or any Insured Person or if the only such solicitation, assistance
           or participation by the Company and Insured Persons is: (i) solely pursuant to, or in compliance with, a
           subpoena or similar legal process; or (ii) protected pursuant to any whistleblower statute;
     2.    A Claim brought or maintained by any Insured Person for contribution or indemnity, if the Claim directly
           results from another Claim covered under this Coverage Part;
     3.    A Claim brought by an Insured Person who has not served as an Insured Person for at least two (2) years
           prior to the date such Claim is first made and who brings and maintains such Claim without the solicitation or
           active assistance or participation of the Company or any other Insured Person who is serving or has served
           as an Insured Person within such two (2) year period;
     4.    A Claim brought or maintained by or on behalf of a bankruptcy or insolvency trustee, examiner, receiver,
           similar official or creditors committee for such Company, or any assignee of such trustee, examiner, receiver,
           or similar official or creditors committee; or
     5.    A Claim by or on behalf of the Company brought and maintained in any non-common law jurisdiction outside
           the United States;
D.   For a Wrongful Act by an Insured Person in an Outside Position if such Claim is brought or maintained by or on
     behalf of the Outside Entity in which the Insured Person serves, or by or on behalf of any past, present or future
     director, officer, manager, governor or trustee of such Outside Entity, provided this exclusion shall not apply to:
     1.    A Claim that is a derivative action brought or maintained on behalf of such Outside Entity by one or more
           persons who are not directors, officers, managers or trustees of the Outside Entity if the Claim is brought
           and maintained without the solicitation or active assistance or participation of the Company, any Insured
           Person, the Outside Entity or any director, officer, manager or trustee of the Outside Entity or if the only
           such solicitation, assistance or participation by the Company, any Insured Person, the Outside Entity or



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           any director, officer, manager or trustee of the Outside Entity is: (i) solely pursuant to or in compliance with a
           subpoena or similar legal process; or (ii) protected pursuant to any whistleblower statute;
     2.    A Claim for an employment-related Wrongful Act brought or maintained by a director, officer, manager,
           governor or trustee of such Outside Entity;
     3.    A Claim brought by a director, officer, manager, governor or trustee of such Outside Entity who has not
           served as such for at least two (2) years prior to the date such Claim is first made and who brings and
           maintains such Claim without the solicitation by, or active assistance or participation of, such Outside Entity
           or any other director, officer, manager, governor or trustee of such Outside Entity who is serving or has
           served as such within such two (2) year period;
     4.    A Claim brought or maintained by or on behalf of a bankruptcy or insolvency trustee, examiner, receiver,
           similar official or creditors committee for such Outside Entity, or any assignee of such trustee, examiner,
           receiver, similar official or creditors committee; or
     5.    A Claim by or on behalf of the Outside Entity brought and maintained in any non-common law jurisdiction
           outside the United States;
E.   For an actual or alleged violation of the responsibilities, obligations or duties imposed by Employee Retirement
     Income Security Act of 1974, as amended, or similar provisions of any federal, state or local statutory law or
     common law with respect to any pension, profit sharing, health and welfare or other employee benefit plan or trust
     established or maintained for the purpose of providing benefits to employees of the Company;
F.   For bodily injury, mental anguish, emotional distress, sickness, disease or death of any person or damage to or
     destruction of any tangible property including loss of use thereof; provided this exclusion shall not apply to any
     allegations of mental anguish or emotional distress in a Claim against Insured Persons for Personal Injury;
G.   Based upon, arising out of or in any way involving:
     1.    The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of Pollutants
           at any time; or
     2.    Any request, demand, order or statutory or regulatory requirement that any Insured or others test for,
           monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
           effects of, Pollutants;
     However, this exclusion shall not apply to:
     a.    Non-Indemnifiable Loss; or
     b.    Any Claim brought directly, derivatively or otherwise by one or more securityholders of a Company in their
           capacity as such;
H.   Based upon, arising out of or in any way involving any Wrongful Act committed by any Insured Person serving in
     any position or capacity in any entity, other than the Company or Outside Entity, even if the Company directed or
     requested the Insured Person to serve in such other position or capacity;
I.   Based upon, arising out of or in any way involving any deliberately fraudulent act or omission or any willful violation
     of any statute or regulation committed by such Insured, if a final and non-appealable adjudication adverse to such
     Insured in any proceeding not brought by the Insurer establishes such a deliberately fraudulent act or omission or
     willful violation;
J.   Based upon, arising out of or in any way involving an Insured Person gaining any profit, remuneration or financial
     advantage to which such Insured was not legally entitled, if: (i) a final and non-appealable adjudication adverse to
     such Insured in any proceeding not brought by the Insurer establishes such Insured in fact gained any such profit,
     remuneration or advantage; or (ii) such Insured agrees to repay to the Company such profit, remuneration or
     financial advantage;
K.   Based upon, arising out of or in any way involving: (i) the actual, alleged or attempted purchase or sale, or offer or
     solicitation of an offer to purchase or sell, any debt or equity securities; or (ii) the actual or alleged violation of any
     federal, state, local or common or foreign law relating to debt or equity securities; provided this exclusion shall not
     apply to any Claim:




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     1.    Based upon, arising out of or in any way involving the purchase or sale, or offer or solicitation of an offer to
           purchase or sell, any debt or equity securities in a private-placement transaction exempt from registration
           under the Securities Act of 1933, as amended;
     2.    Based upon, arising out of or in any way involving the failure of the Company to undertake or successfully
           complete a public offering of securities, including any “roadshow” disclosures or other activities in connection
           with such an unsuccessful public offering; or
     3.    If prior to such purchase or sale, or offer or solicitation of an offer to purchase or sell, securities: (i) the Insurer
           agrees in writing to delete this exclusion with respect to such purchase, sale, offer or solicitation; and (ii) the
           Company pays any additional premium and agrees to any additional terms and conditions reasonably
           required by the Insurer for such deletion;
L.   Solely with respect to INSURING AGREEMENTS C.:
     1.    For any actual or alleged liability of the Company under any written or express contract or agreement, except
           to the extent that the Company would have been liable in the absence of such contract or agreement;
     2.    For Personal Injury;
     3.    For taxes;
     4.    For the rendering of or failure to render professional services; provided this exclusion shall not apply to any
           Claim by one or more securityholders of the Company in their capacity as such;
     5.    Based upon, arising out of or in any way involving any actual or alleged plagiarism, piracy or unfair
           competition or infringement, dilution or misappropriation of any copyright, patent, trademark, trade name,
           trade dress or service mark, or the actual or alleged misappropriation of ideas or trade secrets or other
           intellectual property rights, or the unauthorized disclosure of or access to confidential information; or
     6.    Based upon, arising out of or in any way involving the actual or alleged malfunction, defect or failure of any
           goods or products manufactured, distributed, sold, installed, marketed, developed or processed by the
           Company; provided this exclusion shall not apply to any Claim by one or more securityholders of the
           Company in their capacity as such; or
M.   Which constitutes an Employment Practices Claim or a Third Party Discrimination Claim or a Wage and Hour
     Claim, or any Claim made against any Insured based upon or arising out of any actual or alleged unlawful
     discrimination or harassment.
For the purpose of determining the applicability of EXCLUSIONS I. and J. set forth in this SECTION IV, the Wrongful Act
or knowledge of any Insured Person shall not be imputed to any other Insured Person, and under INSURING
AGREEMENTS C. only the Wrongful Act or knowledge of an Executive Officer of a Company shall be imputed to such
Company and its Subsidiaries.




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                                                                                                                                    MANAGEMENT LIABILITY




                                             MARKEL INSURANCE COMPANY

                           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




     EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY
                          COVERAGE PART

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                                                                                               MANAGEMENT LIABILITY




                                MARKEL INSURANCE COMPANY

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




     EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY
                          COVERAGE PART

SECTION I – INSURING AGREEMENTS
A.    EMPLOYMENT PRACTICES LIABILITY COVERAGE
      The Insurer shall pay on behalf of the Insureds all Loss for which the Insureds become legally obligated to pay on
      account of any Employment Practices Claim first made against the Insureds during the Policy Period or during
      any applicable Extended Reporting Period, if purchased, for a Wrongful Employment Practice taking place
      before or during the Policy Period.
B.    THIRD PARTY DISCRIMINATION LIABILITY COVERAGE
      The Insurer shall pay on behalf of the Insureds all Loss for which the Insureds become legally obligated to pay on
      account of any Third Party Discrimination Claim first made against the Insureds during the Policy Period or
      during any applicable Extended Reporting Period, if purchased, for a Wrongful Act taking place before or during
      the Policy Period. Provided, however, there shall be no coverage for Third Party Discrimination Claims if the
      Third Party Discrimination Liability limits stated in Item 5.B. of the Declarations are shown to be $0 or Not
      Purchased.
SECTION II – EXTENSIONS
A.    WAGE AND HOUR CLAIMS EXTENSION AND LIMIT
      The Insurer shall pay on behalf of the Insureds all Claim Expenses which the Insureds incur on account of any
      Wage and Hour Claims first made against the Insureds during the Policy Period or during any applicable
      Extended Reporting Period, if purchased, for a Wage and Hour Wrongful Act taking place before or during the
      Policy Period.
      The Insurer’s maximum aggregate liability under this Coverage Part for all covered Claim Expenses on account of
      all Wage and Hour Claims shall be the Sublimit amount stated in the Coverage Schedule in Item 5.B. of the
      Declarations. Such Sublimit shall be part of and not in addition to the Combined Aggregate Limit of Liability as
      stated in Item 7. of the Declarations and the Aggregate Limit of Liability for this Coverage Part. Provided, however,
      there shall be no coverage for Wage and Hour Claims if the Wage and Hour Claims Sublimit stated in Item 5.B. of
      the Declarations is shown to be $0 or Not Purchased.
SECTION III – DEFINITIONS
When used in this Coverage Part, the following terms are defined as follows:
A.    Claim, for purposes of the definitions of Employment Practices Claim and Third Party Discrimination Claim in
      the General Terms and Conditions, means:
      1.    A written demand against an Insured for monetary damages or non-monetary relief, including a written
            demand that an Insured toll or waive a statute of limitations, commenced by such Insured’s receipt of such
            written demand;


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     2.    A civil proceeding against an Insured commenced by the service of a complaint or similar pleading upon such
           Insured;
     3.    An administrative or regulatory proceeding against an Insured, including a proceeding before the Equal
           Employment Opportunity Commission or a similar state or local governmental body, commenced by such
           Insured’s receipt of a notice of charges or similar document;
     4.    A civil, administrative or regulatory investigation of an Insured commenced by the service upon or other
           receipt by such Insured of a target letter or other written notice from the investigating authority identifying by
           name such Insured as an individual or entity against whom a proceeding may be commenced; or
     5.    An arbitration, mediation or other alternative dispute resolution proceeding against an Insured, commenced
           by such Insured’s receipt of a demand for such a proceeding;
     For a Wrongful Act, including any appeal therefrom; provided Claim does not include a labor or grievance
     proceeding pursuant to a collective bargaining agreement.
B.   Independent Contractor means any natural person who is not an Employee and who is working for a Company in
     the capacity of an independent contractor pursuant to an express contract or agreement with the Company which
     governs the nature of such person’s engagement.
C.   Insured Persons, whether in the singular or plural, means:
     1.    Any natural person who was, now is or shall during the Policy Period become a duly elected or appointed
           director, trustee, governor, Manager, officer, Employee (including employed lawyers solely in their capacity
           as an Employee), advisory director, or member of a duly constituted committee or board of the Company, or
           their functional equivalent; and
     2.    Any Independent Contractor, but only if the Company agrees in writing within thirty (30) days after the
           Claim is made to provide indemnification to such Independent Contractor for any Loss arising out of such
           Claim; provided any coverage under this Coverage Part for any such Independent Contractor shall be
           specifically excess of any indemnification or insurance otherwise available to such Independent Contractor
           from any other source.
D.   Insureds, whether in the singular or plural, means the Insured Persons and the Company.
E.   Loss means the total amount the Insureds become legally obligated to pay on account of covered Claims made
     against them, including, but not limited to, damages (including back pay, front pay and punitive, exemplary or
     multiple damages), judgments, any award of pre-judgment and post-judgment interest with respect to covered
     damages, settlements, Claim Expenses, prevailing plaintiff attorney’s fees awarded pursuant to any federal, state
     or local statutory or common law or Section 1988 of the Civil Rights Act, and liquidated damages awarded under the
     Age Discrimination in Employment Act, the Equal Pay Act or the Family Medical Leave Act.
     The insurability of such punitive, exemplary, liquidated and multiple damages or attorneys’ fees shall be determined
     under the internal laws of any applicable jurisdiction most favorable to the Insureds, including without limitation the
     jurisdiction in which the Company, the Insured Persons, the Insurer, this policy or such Claim is located.
     Loss does not include any of the following:
     1.    Any amount not indemnified by the Company for which the Insureds are absolved from payment by reason
           of any covenant, agreement or court order;
     2.    Taxes, sanctions, fines or penalties imposed by law; or
     3.    Matters uninsurable under the law pursuant to which this policy is construed.
F.   Wage and Hour Claim means a Claim to the extent such Claim is for a Wage and Hour Wrongful Act. Provided,
     however, there shall be no coverage for Wage and Hour Claims if the Wage and Hour Claims Sublimit stated in
     Item 5.B. of the Declarations is shown to be $0 or Not Purchased.
G.   Wage and Hour Wrongful Act means an actual or alleged violation of the Fair Labor Standards Act (except the
     Equal Pay Act) or any other law concerning wage and hour practices, including but not limited to any law
     addressing off-the-clock work, providing rest or meal periods, reimbursement of expenses, classification of
     employees as exempt or non-exempt, timely payment of wages, conversions, unjust enrichment, or unfair business
     practices.
H.   Wrongful Act means:

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      1.    With respect to INSURING AGREEMENTS A., any Wrongful Employment Practice;
      2.    With respect to INSURING AGREEMENTS B.: (i) any actual or alleged error, misstatement, misleading
            statement, act, omission, neglect, or breach of duty by any of the Insured Persons in their capacity as such,
            or by the Company; or (ii) any matter claimed against the Insured Persons solely by reason of their serving
            in such capacity; and
      3.    With respect to EXTENSIONS A., any Wage and Hour Wrongful Act.
SECTION IV – EXCLUSIONS
The Insurer shall not be liable under this Coverage Part to pay any Loss on account of, and shall not be obligated to
defend, any Claim made against any Insured:
A.    Based upon, arising out of, or in any way involving any fact, circumstance or Wrongful Acts which have been the
      subject of any written notice given prior to inception of this policy under any prior employment practices liability or
      comparable insurance policy or coverage part;
B.    Based upon, arising out of, or in any way involving any Claim against any Insured which was pending on or existed
      prior to the respective Pending or Prior Date stated in the Coverage Schedule in Item 5. of the Declarations, or the
      same or substantially the same fact, circumstance or Wrongful Act alleged or underlying such prior Claim;
C.    For an actual or alleged violation of the responsibilities, obligations or duties imposed by:
      1.    Any law governing workers’ compensation, unemployment insurance, social security, disability benefits or
            similar law, including without limitation the United States Longshoreman’s and Harbor Workers’
            Compensation Act, the Jones Act or the Federal Employers’ Liability Act;
      2.    The Employee Retirement Income Security Act of 1974, as amended, except Section 510 thereof;
      3.    The National Labor Relations Act;
      4.    The Worker Adjustment and Retraining Notification Act;
      5.    The Consolidated Omnibus Budget Reconciliation Act of 1985;
      6.    The Occupational Safety and Health Act;
      7.    The Racketeer Influenced and Corrupt Organizations Act;
      8.    The Federal False Claims Act; or
      9.    Rules or regulations promulgated under any of such statutes or laws, amendments to such statutes or laws or
            similar provisions of any other federal, state, local or foreign statutory law or common law;
      But this exclusion shall not apply to any Claim for any actual or alleged retaliatory treatment of the claimant by the
      Insured on account of the claimant’s exercise of rights pursuant to any such law, rule or regulation or for any other
      actual or alleged violation of any whistleblower statute or law;
D.    For bodily injury, sickness, disease or death of any person or damage to or destruction of any tangible or intangible
      property including loss of use thereof; provided this exclusion shall not apply to any Claim for emotional distress,
      mental anguish or humiliation;
E.    Based upon, arising out of, or in any way involving any actual or alleged breach of any contract or agreement,
      provided such contract or agreement specifies the terms of the Company’s engagement of an Independent
      Contractor;
F.    Based upon, arising out of, or in any way involving any deliberately fraudulent or deliberately criminal act or
      omission committed by such Insured, if a final and non-appealable adjudication adverse to such Insured in any
      proceeding not brought by the Insurer establishes such a deliberately fraudulent or criminal act or omission;
G.    Based upon, arising out of, or in any way involving an Insured gaining any profit, remuneration or financial
      advantage to which such Insured was not legally entitled, if a final and non-appealable adjudication adverse to
      such Insured in any proceeding not brought by the Insurer establishes such Insured in fact gained any such profit,
      remuneration or advantage;
H.    Based upon, arising out of, or in any way involving the employment reinstatement or continued employment of the
      claimant by the Company or, if the Company has the option pursuant to an adjudication or settlement to reinstate


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     the claimant as an Employee but fails to do so, any Loss constituting front pay, future damages or other future
     economic relief or the equivalent thereof with respect to such claimant; or
I.   If such Loss constitutes:
     1.    Any amount incurred by the Insureds to comply with any injunctive or other non-monetary relief or any
           agreement to provide such relief, including without limitation any costs associated with providing any
           reasonable accommodations required by, made as a result of, or to conform with the requirements of, the
           Americans with Disabilities Act and any amendments thereto or any similar federal, state, local or foreign
           statute, regulation, or common laws;
     2.    Compensation earned by the claimant in the course of employment but not paid by the Company, including
           any unpaid salary, bonus, hourly pay, overtime pay, severance pay, retirement benefits, vacation days, sick
           days, prerequisites, stock options or similar rights; provided this exclusion shall not apply to any back pay or
           front pay or any additional compensation allegedly due as a result of alleged discrimination or wrongful
           dismissal, wrongful discharge or wrongful termination of employment;
     3.    Amounts owing under or assumed by the Insureds pursuant to a written or other express contract or
           agreement with or written severance obligation of the Company; but this exclusion shall not apply: (i) if and to
           the extent that liability would have attached to the Insureds in the absence of the written contract with or
           obligation of the Company; or (ii) to the Insured’s contractual liability to indemnify an employment agency or
           employee leasing company for the Wrongful Acts of Insureds which injure or harm temporary or leased
           employees of such agency or company; or
     4.    Medical, insurance or other benefits or securities of the Company (or the equivalent value thereof) to which
           the claimant allegedly was entitled, including without limitation benefits to which the claimant would have been
           entitled had the Company provided the claimant with a continuation or conversion of insurance;
     Provided this exclusion shall not apply to Claim Expenses.
For the purpose of determining the applicability of EXCLUSIONS F. and G. set forth in this SECTION IV, the Wrongful
Act or knowledge of any Insured Person shall not be imputed to any other Insured Person, and only the Wrongful Act
or knowledge of an Executive Officer of a Company shall be imputed to such Company and its Subsidiaries.




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                                                                                                                                    MANAGEMENT LIABILITY




                                             MARKEL INSURANCE COMPANY



                                          FIDUCIARY LIABILITY COVERAGE PART

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                                                                                             MANAGEMENT LIABILITY




                               MARKEL INSURANCE COMPANY

                             FIDUCIARY LIABILITY COVERAGE PART

SECTION I – INSURING AGREEMENTS
A. FIDUCIARY LIABILITY COVERAGE
   The Insurer shall pay on behalf of the Insureds all Loss for which the Insureds become legally obligated to pay on
   account of a Claim first made against the Insureds during the Policy Period or any applicable Extended Reporting
   Period, if purchased, for a Wrongful Act taking place before or during the Policy Period.
B. VOLUNTARY SETTLEMENT PROGRAMS
   The Insurer shall pay on behalf of the Insureds any Voluntary Settlement and Claim Expenses for which the
   Insureds become legally obligated to pay resulting from a Settlement Program Notice first given to the Insurer
   during the Policy Period, provided such Voluntary Settlement and Claim Expenses are incurred after such
   Settlement Program Notice is first given to the Insurer. The Insurer’s maximum liability under this INSURING
   AGREEMENTS B. for all covered Voluntary Settlements and Claim Expenses, combined, shall be the respective
   Sublimit amount stated in the Coverage Schedule in Item 5.C. of the Declarations, which is part of and not in addition
   to the Combined Aggregate Limit of Liability as stated in Item 7. of the Declarations and the Aggregate Limit of
   Liability for this Coverage Part. No Retention shall apply to this INSURING AGREEMENTS B.
SECTION II – EXTENSIONS
A. HIPAA CLAIM AND COBRA CLAIM EXTENSION AND LIMIT
   The Insurer shall pay on behalf of the Insureds all Claim Expenses and HIPAA and COBRA Penalties for which the
   Insureds become legally obligated to pay on account of a HIPAA Claim or a COBRA Claim first made against the
   Insureds during the Policy Period or any applicable Extended Reporting Period, if purchased, for a Wrongful Act
   taking place before or during the Policy Period.
   The applicable Limit of Liability stated in Item 8.F. of the Declarations shall apply to such Claim Expenses and
   HIPAA and COBRA Penalties arising from such HIPAA Claims and COBRA Claims which is the Insurer’s
   maximum Limit of Liability for all Claim Expenses and HIPAA and COBRA Penalties on account of such Claims;
   provided, however, there shall be no coverage for HIPAA Claims and COBRA Claims if the Limit amount is stated in
   Item 8.F. of the Declarations to be $0 or Not Purchased.
B. PPACA CLAIM EXTENSION AND LIMIT
   The Insurer shall pay on behalf of the Insureds all Claim Expenses and PPACA Penalties for which the Insureds
   become legally obligated to pay on account of a PPACA Claim first made against the Insureds during the Policy
   Period or any applicable Extended Reporting Period, if purchased, for a Wrongful Act taking place before or during
   the Policy Period.
   The applicable Limit of Liability stated in Item 8.G. of the Declarations shall apply to such Claim Expenses and
   PPACA Penalties arising from such PPACA Claims which is the Insurer’s maximum Limit of Liability for all Claim
   Expenses and PPACA Penalties on account of such Claims; provided, however, there shall be no coverage for
   PPACA Claims if the Limit amount is stated in Item 8.G. of the Declarations to be $0 or Not Purchased.
C. DISCLOSURE PROVISION PENALTIES EXTENSION AND LIMIT
   The Insurer shall pay on behalf of the Insureds all Claim Expenses and Disclosure Provision Penalties for which
   the Insureds become legally obligated to pay on account of a Claim seeking Disclosure Provision Penalties first
   made against the Insureds during the Policy Period or any applicable Extended Reporting Period, if purchased, for
   a Wrongful Act taking place before or during the Policy Period.

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    The applicable Limit of Liability stated in Item 8.H. of the Declarations shall apply to such Claim Expenses and
    Disclosure Provision Penalties arising from such Claims seeking Disclosure Provision Penalties which is the
    Insurer’s maximum Limit of Liability for all Claim Expenses and Disclosure Provision Penalties on account of such
    Claims; provided, however, there shall be no coverage for such Claims if the Limit amount is stated in Item 8.H. of
    the Declarations to be $0 or Not Purchased.
D. SETTLOR CAPACITY CLAIM EXTENSION AND LIMIT
    The Insurer shall pay on behalf of the Insureds all Claim Expenses for which the Insureds become legally obligated
    to pay on account of a Settlor Capacity Claim first made against the Insureds during the Policy Period or any
    applicable Extended Reporting Period, if purchased, for a Wrongful Act taking place before or during the Policy
    Period.
    The applicable Limit of Liability stated in Item 8.I. of the Declarations shall apply to such Claim Expenses arising from
    such Settlor Capacity Claims which is the Insurer’s maximum Limit of Liability for all Claim Expenses on account of
    such Claims; provided, however, there shall be no coverage for Settlor Capacity Claims if the Limit amount is stated
    in Item 8.I. of the Declarations to be $0 or Not Purchased.
SECTION III – DEFINITIONS
When used in this Coverage Part, the following terms are defined as follows:
A. Administration means: (i) counseling employees, beneficiaries or Plan participants with respect to any Plan; (ii)
   providing interpretations with respect to any Plan; (iii) handling records in connection with any Plan; and (iv)
   enrolling, terminating or canceling employees, beneficiaries or participants under any Plan.
B. Claim means:
    1. A written demand against an Insured for monetary damages or non-monetary relief, including a written demand
       that an Insured toll or waive a statute of limitations, commenced by such Insured’s receipt of such written
       demand;
    2. A civil proceeding against an Insured commenced by the service of a complaint or similar pleading upon such
       Insured;
    3. A criminal proceeding against an Insured commenced by such Insured’s receipt of an indictment, information or
       similar document;
    4. An administrative or regulatory proceeding against an Insured commenced by such Insured’s receipt of a notice
       of charges or similar document;
    5. A civil, criminal, administrative or regulatory investigation (including a fact-finding investigation by the Department
       of Labor, Pension Benefit Guaranty Corporation or similar authority) of an Insured commenced by the service
       upon or other receipt by such Insured of a target letter or other written notice from the investigating authority
       identifying by name such Insured as a person against whom a proceeding may be commenced; or
    6. An arbitration, mediation or other alternative dispute resolution proceeding against an Insured, commenced by
       such Insured’s receipt of a demand for such a proceeding;
    For a Wrongful Act, including any appeal therefrom.
    Solely with respect to INSURING AGREEMENTS B., Claim means only a Settlement Program Notice.
C. COBRA Claim means a Claim alleging, arising out of, based upon or attributable to a violation of the Consolidated
   Omnibus Budget Reconciliation Act of 1985, as amended. Provided, however, there shall be no coverage for COBRA
   Claims if the Limit amount is stated in Item 8.F. of the Declarations to be $0 or Not Purchased.
D. Disclosure Provision Penalties means only those civil penalties imposed upon an Insured for violation of the
   disclosure provisions of §502(c) of ERISA or of the Pension Protection Act of 2006. Provided, however, there shall be
   no coverage for Disclosure Provision Penalties if the Limit amount is stated in Item 8.H. of the Declarations to be $0
   or Not Purchased.
E. ERISA means the Employee Retirement Income Security Act of 1974, as amended.
F. HIPAA and COBRA Penalties means only those civil penalties imposed upon an Insured for violation of the
   Consolidated Omnibus Budget Reconciliation Act of 1985, as amended, or the privacy provisions of the Health




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     Insurance Portability and Accountability Act of 1996, as amended, arising on account of a HIPAA Claim or a COBRA
     Claim.
G. HIPAA Claim means a Claim alleging, arising out of, based upon or attributable to a violation of the privacy
   provisions of the Health Insurance Portability and Accountability Act of 1996, as amended. Provided, however, there
   shall be no coverage for HIPAA Claims if the Limit amount is stated in Item 8.F. of the Declarations to be $0 or Not
   Purchased.
H. Insured Persons, whether in the singular or plural, means any natural person who was, now is or shall during the
   Policy Period become a duly elected or appointed director, trustee, governor, Manager, officer, Employee (including
   employed lawyers solely in their capacity as an Employee), advisory director or member of a duly constituted
   committee or board of any Company or Plan or their functional equivalent.
I.   Insured, whether in the singular or plural means:
     1. The Insured Persons;
     2. The Company; and
     3. The Plans.
J. Loss means the total amount the Insureds become legally obligated to pay on account of covered Claims made
   against them, including, but not limited to, damages (including punitive, exemplary or multiple damages), judgments,
   any award of pre-judgment and post-judgment interest with respect to covered damages, settlements, Claim
   Expenses, and:
     1. The five percent (5%) or less or the twenty percent (20%) or less civil penalties imposed under §502(i) or (l) of
        ERISA;
     2. Civil penalties imposed upon an Insured by the United Kingdom Secretary of State for Social Services or by the
        United Kingdom Occupational Pensions Regulatory Authority, pursuant to the English Pension Scheme Act 1993,
        the English Pensions Act 1995, or rules or regulations thereunder, provided any coverage for such civil penalties
        applies only if the funds or assets of the subject Plan are not used to fund, pay or reimburse the premium for this
        Coverage Part.
     Solely with respect to INSURING AGREEMENTS B., Loss means only a Voluntary Settlement and Claim
     Expenses.
     The insurability of such punitive, exemplary or multiple damages, civil penalties or Voluntary Settlements shall be
     determined under the internal laws of any applicable jurisdiction most favorable to the Insureds, including without
     limitation the jurisdiction in which the Company, the Insured Persons, the Insurer, this policy or such Claim is
     located.
     Loss does not include any of the following:
     a. HIPAA and COBRA Penalties, PPACA Penalties and Disclosure Provision Penalties;
     b. Any amount not indemnified by the Company for which the Insureds are absolved from payment by reason of
        any covenant, agreement or court order;
     c. Taxes, sanctions, fines or penalties imposed by law, other than civil penalties expressly referenced in Items 1. or
        2. above;
     d. Any amount incurred by the Company or Plan to comply with any injunctive or other non-monetary relief or any
        agreement to provide such relief; or
     e. Matters uninsurable under the law pursuant to which this policy is construed.
K. Plan means:
     1. Any Employee Benefit Plan, Pension Benefit Plan or Welfare Benefit Plan, as each is defined in ERISA, which
        was, is now, or hereafter becomes sponsored solely by the Company, or sponsored jointly by the Company and
        a labor organization, solely for the benefit of the employees of the Company;
     2. Any other employee benefit plan or program not subject to ERISA sponsored solely by the Company for the
        benefit of the employees of the Company, including any fringe benefit, excess benefit plan or voluntary
        employees’ beneficiary association;



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    3. Any employee benefit plan or program otherwise described in paragraphs 1. or 2. above while such plan or
       program is being actively developed, formed or proposed by any Company prior to the formal creation of such
       plan or program; provided, however, no coverage is afforded under this Coverage Part for any Claim against an
       Insured in a settlor or similar uninsured capacity with respect to any plan or program; and
    4. Solely with respect to Item 2. of the definition of Wrongful Act, any government-mandated insurance program for
       workers’ compensation, unemployment, social security or disability benefits for employees of the Company.
    Plan shall not include any Multiemployer Plan or Employee Stock Ownership Plan as defined by ERISA, unless
    such plan is specifically included as a Plan by endorsement to this policy.
L. PPACA Claim means a Claim alleging, arising out of, based upon or attributable to an inadvertent violation of the
   Patient Protection and Affordable Care Act, as amended, and any rules or regulations thereunder. Provided, however,
   there shall be no coverage for PPACA Claims if such Limit amount is stated in Item 8.G. of the Declarations to be $0
   or Not Purchased.
M. PPACA Penalties means only those civil penalties imposed upon an Insured for inadvertent violation of the Patient
   Protection and Affordable Care Act, as amended, and any rules or regulations thereunder, arising on account of a
   PPACA Claim.
N. Settlement Program means any voluntary compliance resolution program or similar voluntary settlement program
   administered by the United States Internal Revenue Service, United States Department of Labor or any other
   domestic or foreign governmental authority. Such programs include, without limitation, the Employee Plans
   Compliance Resolution System, Audit Closing Agreement Program, Voluntary Compliance Resolution Program, Walk-
   In Closing Agreement Program, Administrative Policy Regarding Self-Correction, Tax Sheltered Annuity Voluntary
   Correspondence Program, Delinquent Filer Voluntary Compliance Program, and Voluntary Fiduciary Correction
   Program.
O. Settlement Program Notice means prior written notice to the Insurer by any Insured of the Insureds’ intent to enter
   into a Settlement Program.
P. Settlor Capacity Claim means a Claim for any actual or alleged act, error, or omission by the Insureds in a settlor
   capacity regarding any Plan, provided that coverage for any such Claim for such an act, error or omission shall be
   limited to Claim Expenses and there shall be no coverage for Settlor Capacity Claims if such Limit amount is stated
   in Item 8.I. of the Declarations to be $0 or Not Purchased.
Q. Voluntary Settlement means any fees, fines or penalties paid by an Insured to a governmental authority pursuant to
   a Settlement Program for the actual or alleged inadvertent non-compliance by a Plan with any statute, rule or
   regulation; provided Voluntary Settlement shall not include: (i) any costs to correct the non-compliance, or any other
   charges, expenses, taxes or damages; or (ii) any fees, fines or penalties relating to a Plan which, as of the earlier of
   the inception date of this policy or the inception date of the first policy in an uninterrupted series of policies issued by
   the Insurer of which this policy is a direct or indirect renewal or replacement, any “insured person” knew to be actually
   or allegedly non-compliant.
R. Wrongful Act means:
    1. Any actual or alleged error, misstatement, misleading statement, act, omission, neglect, or breach of duty by the
       Insureds in the discharge of their duties as, or solely by reason of their status as, fiduciaries of any Plan;
    2. Any negligent act, error or omission actually or allegedly committed or attempted by the Insureds in the
       Administration of a Plan; or
    3. Solely with respect to SECTION II - EXTENSIONS D., any actual or alleged act, error, or omission by the
       Insureds in a settlor capacity regarding any Plan, provided that coverage for any Claim for such an act, error or
       omission shall be limited to Claim Expenses and further limited by the Sublimit described in SECTION II -
       EXTENSIONS D.
SECTION IV – EXCLUSIONS
The Insurer shall not be liable under this Coverage Part to pay any Loss on account of, and shall not be obligated to
defend, any Claim made against any Insured:
A. Based upon, arising out of, or in any way involving any fact, circumstance or Wrongful Act which has been the
   subject of any written notice given prior to inception of this policy under any prior fiduciary liability or comparable
   insurance policy or coverage part;



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B. Based upon, arising out of, or in any way involving any Claim against any Insured which was pending on or existed
   prior to the respective Pending or Prior Date stated in the Coverage Schedule in Item 5. of the Declarations, or the
   same or substantially the same fact, circumstance or Wrongful Act alleged in or underlying such prior Claim;
C. For bodily injury, mental anguish, emotional distress, sickness, disease or death of any person or damage to or
   destruction of any tangible property including loss of use thereof; provided this exclusion shall not apply to any Claim
   Expenses on account of a Claim for emotional distress or mental anguish;
D. Based upon, arising out of, or in any way involving any deliberately fraudulent act or omission or any willful violation of
   any statute or regulation committed by such Insured, if a final and non-appealable adjudication adverse to such
   Insured in any proceeding not brought by the Insurer establishes such a deliberately fraudulent act or omission or
   willful violation;
E. For liability of others assumed by the Insured under any oral, written or implied contract or agreement, but this
   exclusion shall not apply to the extent: (i) the Insured would have been liable in the absence of such contract or
   agreement; or (ii) the liability was assumed in accordance with or under the trust agreement or equivalent document
   pursuant to which the Plan was established;
F. Based upon, arising out of, or in any way involving any actual or alleged obligation of any Insured pursuant to any
   government-mandated insurance for worker’s compensation, unemployment, social security or disability benefits;
   provided this exclusion shall not apply to any actual or alleged obligation of any Insured pursuant to the Consolidated
   Omnibus Budget Reconciliation Act of 1985 or Health Insurance Portability and Accountability Act of 1996, as
   amended;
G. For discrimination in violation of any law other than ERISA; or
H. If such Loss constitutes:
    1. (i) benefits due or to become due under any Plan; or (ii) benefits which would be due under any Plan if such Plan
       complied with all applicable law; or (iii) that portion of any settlement or judgment which constitutes such benefits;
       provided this EXCLUSIONS H.1. shall not apply to the extent that recovery for such benefits is based upon a
       covered Wrongful Act by an Insured Person and such benefits are payable as a personal obligation of such
       Insured Person;
    2. Contributions owed by the Company to any Plan for which any of the Insureds failed to collect from the
       Company unless the failure is because of the negligence of an Insured; or
    3. The return or reversion to an employer of any contribution or asset of a Plan;
    Provided this exclusion shall not apply to: (i) Claim Expenses; or (ii) that portion of a settlement or judgment
    attributable to Wrongful Acts which actually or allegedly cause or contribute to a reduction or loss in the value of a
    Plan’s assets or a participant’s account in a Plan due to investment losses, lost investment opportunities, excessive
    costs or failure to comply with the participant’s investment directions.

For the purpose of determining the applicability of EXCLUSIONS D. set forth in this SECTION IV, the Wrongful Act or
knowledge of any Insured Person shall not be imputed to any other Insured Person, and only the Wrongful Act or
knowledge of an Executive Officer: (i) of a Company shall be imputed to such Company and its Subsidiaries; and (ii)
of a Plan shall be imputed to such Plan.




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                                                                                                 MANAGEMENT LIABILITY




                                  MARKEL INSURANCE COMPANY

                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           CERTIFIED ACTS OF TERRORISM COVERAGE
This endorsement modifies insurance provided under the following:

GENERAL TERMS AND CONDITIONS


It is agreed that the following is added:
        Certified Acts of Terrorism
        It is hereby understood and agreed that this policy includes coverage on account of any Claim for Wrongful Acts
        or Wrongful Employment Practices applicable to Coverage Part(s) of this policy resulting from any Certified
        Act of Terrorism.
        Certified Act of Terrorism means an act that is certified by the Secretary of the Treasury, in consultation with the
        Secretary of Homeland Security and the Attorney General of the United States, to be an act of terrorism pursuant
        to the federal Terrorism Risk Insurance Act. The federal Terrorism Risk Insurance Act set forth the following
        criteria for a Certified Act of Terrorism:
                 1.      The act resulted in insured losses in excess of $5 million in the aggregate attributable to all types
                         of insurance subject to the Terrorism Risk Insurance Act; and
                 2.      The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
                         committed by an individual or individuals as part of an effort to coerce the civilian population of
                         the United States or to influence the policy or affect the conduct of the United States Government
                         by coercion.
        If the aggregate insured losses attributable to terrorist acts certified under the federal Terrorism Risk Insurance
        Act exceed $100 billion in a Calendar Year and the Insurer has met the Insurer’s deductible under the Terrorism
        Risk Insurance Act, the Insurer shall not be liable for the payment of any portion of the amount of such losses that
        exceeds $100 billion, and in such cases insured losses up to that amount are subject to pro rata allocation in
        accordance with the procedures established by the Secretary of the Treasury.
        The terms and limitations of any terrorism coverage provided therewith, or the inapplicability or omission of
        terrorism exclusion, do not serve to create coverage for any Loss which would otherwise be excluded under this
        policy or applicable Coverage Part(s).




All other terms and conditions remain unchanged.




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                                                                                   POLICY NUMBER: MKLC1MML000060




                                MARKEL INSURANCE COMPANY

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                NEW YORK PURCHASED EXTENDED REPORTING PERIOD
This endorsement modifies all insurance provided under the following, provided such Coverage Part is purchased and
attached to this policy:

GENERAL TERMS AND CONDITIONS
DIRECTORS AND OFFICERS LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART
FIDUCIARY LIABILITY COVERAGE PART


In consideration of the additional premium of $83,002.00and subject to all the terms, limits of liability, exclusions
and conditions of this policy, it is understood and agreed that:

1. The coverage under Paragraph C. Extended Reporting Period of Section VI – Coverage Extensions is extended to
   apply to Claims first made against the Insureds during the 6 year period immediately following 12/17/2018, the
   effective date of cancellation or nonrenewal of this policy and reported in accordance with the provisions of Section V
   – Reporting And Notice, but only for a Wrongful Act which happened prior to the effective date of such cancellation
   or nonrenewal and is otherwise covered by this policy.
    This 6 year interval is herein referred to as the Extended Reporting Period.
2. Immediately upon the commencement of the Extended Reporting Period the entire premium therefor shall be
   deemed fully earned.




All other terms and conditions remain unchanged.




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                                                                                     POLICY NUMBER: MKLC1MML000060




                                 MARKEL INSURANCE COMPANY

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            NEW YORK DATABREACHSM COVERAGE PARTS ENDORSEMENT
This endorsement adds to the insurance provided under the following:
 GENERAL TERMS AND CONDITIONS
 DIRECTORS AND OFFICERS AND COMPANY LIABILITY COVERAGE PART
 DIRECTORS AND OFFICERS AND ORGANIZATION LIABILITY COVERAGE PART
 EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART



                                                          SCHEDULE
                                                                                            Coverage Part
            Coverage Part                    Coverage Part            Coverage Part           Retroactive     Coverage Part
                                            Limit of Liability          Retention                Date         Duty to Defend
A. Data Breach and Privacy               $ 25,000                 $0                        12/17/2018        Yes 
Liability – Claims Made Coverage         Each Claim               Each Claim


B. Data Breach Loss to Insured –         $ 25,000                 $0                        NONE
Occurrence Coverage                      Each Unauthorized        Each Unauthorized
                                         Access                   Access


C. Breach Mitigation Expense –           $ 25,000                 $0                        NONE
Occurrence Coverage                      Each Unintentional       Each Unintentional
                                         Data Compromise          Data Compromise


D. All Coverage Parts of this            $ 25,000
Endorsement                              Aggregate



n consideration of the premium paid, it is understood and agreed that the Coverages afforded by this endorsement are
subject to the terms, conditions and limitations of this policy other than GENERAL TERMS AND CONDITIONS, SECTION
XVIII – EXCLUSIONS A., except to the extent that such terms, conditions and limitations are modified herein. Solely with
respect to the Coverages afforded by this endorsement, the policy is amended as follows:
Claims Made Coverage: With regard to DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part,
the coverage afforded by this endorsement is limited to liability for only those Claims that are first made against the Insured
during the Policy Period, Automatic Extended Reporting Period, or the Extended Reporting Period, if purchased, and
reported to the Insurer pursuant to GENERAL TERMS AND CONDITIONS, SECTION V – REPORTING AND NOTICE A.,
Notice of Claims.
The Limits of Liability applicable to the Coverage Parts provided under this endorsement are in addition to, and do not erode
the Limits of Liability provided under the DIRECTORS AND OFFICERS LIABILITY COVERAGE PART or the



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EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART afforded in the policy
to which this endorsement attaches.
Please read this endorsement carefully.
1.   The following is added to the INSURING AGREEMENTS Section of the Coverage Part indicated above:
     DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part – Claims Made Coverage:
     The Insurer shall pay on behalf of the Company or Organization, all sums which the Company or Organization shall
     become legally obligated to pay as Damages which are a result of a Claim first made against the Insured during the
     Policy Period, Automatic Extended Reporting Period, or the Extended Reporting Period, if purchased, and reported to
     the Insurer pursuant to GENERAL TERMS AND CONDITIONS, SECTION V – REPORTING AND NOTICE A., Notice of
     Claims, by reason of an Unauthorized Access or a Potential Unauthorized Access, provided:
     1. The entirety of the Unauthorized Access or the discovery of the Potential Unauthorized Access happens during
        the Policy Period or on or after the Retroactive Date stated in the Schedule of this endorsement as applicable to
        COVERAGE A. - Data Breach and Privacy Liability and before the end of the Policy Period; and
     2. Prior to the effective date of this policy the Company or Organization or any past or current principal, partner,
        officer, director, trustee, shareholder, Employee, manager or member of the Company or Organization had no
        knowledge of such Unauthorized Access, Potential Unauthorized Access or any computer security incident,
        intrusion, breach, compromise, theft, loss or use of the Company’s or Organization’s Electronic
        Communications System which may have led a reasonable person in such party’s position to conclude that a
        Claim was likely.
     DataBreachSM COVERAGE B. - Data Breach Loss to Insured Coverage Part – Occurrence Coverage:
     The Insurer shall indemnify the Company or Organization for the amount of Loss which results directly from an
     Unauthorized Access which occurs during the Policy Period and is reported to the Insurer pursuant to GENERAL
     TERMS AND CONDITIONS, SECTION V – REPORTING AND NOTICE D., Loss Reporting Provision:
     1. Provided prior to the effective date of this policy the Company or Organization or any past or current principal,
        partner, officer, director, trustee, shareholder, Employee, manager or member of the Company or Organization
        had no knowledge that such Unauthorized Access had occurred in whole or in part, and if such party knew prior to
        the Policy Period that the Unauthorized Access had occurred, then any continuation, change or resumption of
        such Unauthorized Access during or after the Policy Period will be deemed to have been known prior to the
        Policy Period; and
     2. Unauthorized Access, which occurs during the Policy Period and was not, prior to the Policy Period known to
        have occurred by the Company or Organization or any past or current principal, partner, officer, director, trustee,
        shareholder, Employee, manager or member of the Company or Organization, includes any continuation, change
        or resumption of that Unauthorized Access after the end of the Policy Period; and
     3. Unauthorized Access will be deemed to have been known to have occurred at the earliest of the Company or
        Organization or any past or current principal, partner, officer, director, trustee, shareholder, Employee, manager or
        member of the Company or Organization:
         (a) Reporting all, or any part, of the Unauthorized Access to the Insurer, any other insurer or any insurance
             representative;
         (b) Incurring Loss or Breach Mitigation Expense because of the Unauthorized Access; or
         (c) Becoming aware by any other means that Unauthorized Access has occurred or has begun to occur.
     DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part – Occurrence Coverage: The Insurer
     shall, subject to the prior written consent of the Insurer, reimburse the Company or Organization for the reasonable
     cost actually incurred by the Company or Organization for Breach Mitigation Expense which results directly from
     an Unintentional Data Compromise which occurs during the Policy Period and is reported to the Insurer pursuant
     to GENERAL TERMS AND CONDITIONS, SECTION V – REPORTING AND NOTICE E., Breach Mitigation Expense
     Reporting Provision, provided:
     1. The entirety of the Unintentional Data Compromise occurs during the Policy Period; and
     2. Prior to the effective date of this policy the Company or Organization or any past or current principal, partner,
        officer, director, trustee, shareholder, Employee, manager or member of the Company or Organization had no
        knowledge such Unintentional Data Compromise of:
         (a) The Company’s or Organization’s Electronic Communications System ; or

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       (b) The Electronic Communications System of a third party responsible for storing and securing the data of the
           Company or Organization;
       Had occurred in whole or in part, which may have led a reasonable person in such party's position to conclude that
       incurring such expenses was likely, and if any such party knew prior to the Policy Period that such Unintentional
       Data Compromise had occurred, then any continuation, change or resumption of such Unintentional Data
       Compromise during or after the Policy Period will be deemed to have been known prior to the Policy Period; and
   3. Unintentional Data Compromise will be deemed to have been known to have occurred at the earliest of any
      Insured:
       (a) Reporting all, or any part, of an Unauthorized Access or Potential Unauthorized Access to the Insurer,
           any other insurer or any insurance representative;
       (b) Incurring Loss or Breach Mitigation Expense because of an Unauthorized Access or Potential
           Unauthorized Access; or
       (c) Becoming aware by any other means that an Unintentional Data Compromise has occurred or has begun to
           occur.
       The Company or Organization must submit to the Insurer satisfactory written proof of payment of such costs
       within one (1) year after the expiration or cancellation of this policy.
       If such expenses as are reimbursable under this DataBreachSM COVERAGE C. - Breach Mitigation Expense
       Coverage Part become part of a judgment, award or settlement, such expenses shall not be subject to coverage
       under DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part.
2. Solely with respect to the Coverages afforded by this endorsement, the following are added to the DEFINITIONS
   Section:
   A. Bodily Injury means bodily injury, sickness or disease sustained by a person, including death resulting from any
      of these; provided, however, Bodily Injury does not include humiliation or the infliction of emotional distress
      arising solely from an Unauthorized Access or Potential Unauthorized Access.
   B. Breach Mitigation Expense means expenses incurred by the Company or Organization with the prior written
      consent of the Insurer for:
       1. The services of a public relations professional, or other publicity expenses that are recommended by a public
          relations professional to respond to any actual adverse publicity in the media, that is the result of an
          Unauthorized Access or Potential Unauthorized Access;
       2. Expenses, including but not limited to notification and related legal fees, that are incurred to comply with a
          Security Breach Notice Law and that are the result of an Unauthorized Access or Potential Unauthorized
          Access; and
       3. Expenses associated with voluntarily providing credit monitoring services to individuals affected by an
          Unauthorized Access or Potential Unauthorized Access.
   C. Claim means the Insured’s receipt of:
       1. A written demand for Damages; or
       2. The service of suit or institution of arbitration proceedings against the Insured;
       All as a result of an Unauthorized Access or Potential Unauthorized Access.
   D. Claim Expenses means reasonable and necessary amounts incurred by the Insurer, or by the Insured with the
      prior written consent of the Insurer, in the defense of that portion of any Claim for which coverage is afforded
      under this endorsement, including costs of investigation, court costs, costs of bonds to release attachments and
      similar bonds, but without any obligation of the Insurer to apply for or furnish any such bonds, and costs of
      appeals; provided, however, that Claim Expenses shall not include: (1) salary, wages, overhead, or benefit
      expenses of or associated with Employees or officials of the Company or Organization or employees or officials
      of the Insurer; or (2) salary, wages, administration, overhead, benefit expenses, or charges of any kind
      attributable to any in-house counsel or captive out-of-house counsel for the Company or Organization or the
      Insurer.
   E. Damages means the monetary portion of any judgment, award or settlement. However, Damages shall not
      include: (1) multiplied portions of damages in excess of actual damages, including trebling of damages; (2) the
      cost of any modifications or changes to the Company’s or Organization’s security measures, procedures,


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        software or hardware required or agreed to by the Insured to satisfy a judgment, award or settlement; (3) any
        cost required to repair, build or modify property to comply with any award by a court, administrative order,
        arbitration award or any similar judgment; (4) taxes, criminal or civil fines, or attorneys’ fees of a party other than
        an Insured or other penalties imposed by law; (5) sanctions; (6) matters which are uninsurable under the law
        pursuant to which this endorsement shall be construed; or (7) the return, withdrawal, reduction, restitution or
        payment of any fees, profits or charges for services or consideration and/or any expenses paid to the Insured.
   F. Employee means any natural person while in the regular service of the Company or Organization in the
      ordinary course of the Company’s or Organization’s business and whom the Company or Organization
      compensates by salary, wages or commissions and has the right to govern and direct the performance of such
      service. Employee includes a Leased Worker but does not include any Temporary Worker or independent
      contractor.
   G. Forensic Expense means reasonable and necessary costs incurred by the Company or Organization to
      engage the services of a third party computer security expert to determine the existence and cause of any
      Unauthorized Access.
   H. Insured means the Company or Organization and Insured Persons.
   I.   Insured Person, whether in the singular or plural, means:
        1. Any natural person who was, now is or shall during the Policy Period become a duly elected or appointed
           director, trustee, governor, manager, officer, advisory director, or member of a duly constituted committee or
           board of the Company or Organization or their functional equivalent; and
        2. Any natural person not described in subsection 1. above who was, now is or shall during the Policy Period
           become an Employee of the Company or Organization.
   J. Interrelated Unauthorized Accesses means Unauthorized Access(es) and/or Potential Unauthorized
      Access(es) which are logically or causally connected by reason of any common fact, incident, circumstance,
      situation, or any computer security incident, intrusion, breach, compromise, theft, loss or use of the Company’s
      or Organization’s Electronic Communications System.
   K. Leased Worker means any natural person leased to the Company or Organization by a labor leasing
      organization, under an agreement between the Company or Organization and the labor leasing organization, to
      perform duties related to the conduct of the Company’s or Organization’s business and which are at the
      Insured’s direction. Leased Worker does not include a Temporary Worker.
   L. Loss means:
        1. Reasonable and necessary costs incurred by the Company or Organization to restore with due diligence
           and dispatch the Company’s or Organization’s Electronic Communications System to the condition that
           existed prior to an Unauthorized Access, including reconstruction of programs, electronic data and media
           which form a part of the Company’s or Organization’s Electronic Communications System; and
        2. Forensic Expense;
        Provided, however, Loss shall not include: (a) any cost or charges associated with building, modifying or
        upgrading the Company’s or Organization’s Electronic Communications System, or any software, security
        measures or procedures; (b) any cost required to repair, build or modify tangible property to comply with any
        award or order by a court, arbitration or any similar proceeding; (c) any loss of reputation of the Company or
        Organization or loss of customer confidence in the Company or Organization or the value imputed to such loss;
        (d) expenses incurred by the Company or Organization in establishing the amount of any Loss covered under
        this endorsement; or (e) loss of business income.
   M. Property Damage means physical injury to tangible property, including all resulting loss of use of that property or
      loss of use of tangible property that is not physically injured; provided, however, damage to, corruption of or
      inability to access data, software and computer networks shall not be considered to be loss of use of tangible
      property.
   N. Temporary Worker means any natural person who is furnished to the Company or Organization to substitute
      for a permanent Employee on leave or to meet seasonal or short-term work load requirements.
   O. Unauthorized Access means a breach of the Company’s or Organization’s security measures, systems,
      procedures, or stated privacy policy, or any intentional violation, interception, or use or misuse of the Company’s
      or Organization’s Electronic Communications System, whether or not for profit or gain, by any person, without
      the permission, knowledge or ratification of the Insured. Unauthorized Access also includes:


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       1. Access to the Company’s or Organization’s Electronic Communications System that is with the
          Insured’s permission where such permission is the result of fraud or deception;
       2. Use of the Company’s or Organization’s Electronic Communications System by a party authorized by the
          Insured to use such system, who does so for an unauthorized purpose;
       3. The introduction of programs into the Company’s or Organization’s Electronic Communications System
          which contain fraudulent or destructive instructions or code including any inadvertent transmission of such
          programs to a third party;
       4. A credible threat or an extortion demand received by the Company or Organization threatening or
          portending loss, injury or damage to:
           (a) The Company’s or Organization’s Electronic Communications System, including programs,
               electronic data and media which form a part of the Company’s or Organization’s Electronic
               Communications System; or
           (b) Money, securities, bonds or similar financial instruments, solely to the extent that record of such is
               maintained in digital or electronic format on the Company’s or Organization’s Electronic
               Communications System;
           For the purpose of extorting money or other valuable consideration from the Company or Organization;
       5. Failure to prevent a denial of service attack on the Company’s or Organization’s Electronic
          Communications System or to prevent the use of the Company’s or Organization’s Electronic
          Communications System by an unauthorized user or code to launch a denial of service attack on a third
          party;
       6. Solely with regard to:
           (a) DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part; and
           (b) DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part;
           The theft or loss of any paper records; and
       7. Solely with regard to DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part:
           The failure of any third party to prevent the unauthorized viewing, copying or distribution of Private Data
           which the Company or Organization has entrusted to such party under a written contract or agreement that
           specifically requires such party to protect the confidentiality of the Private Data so entrusted.
3. The following is added to the EXCLUSIONS Section:
   A. With respect to all Coverages afforded by this endorsement, the Insurer shall not be obligated to defend any
      Claim made against any Insured and shall not be liable to pay any Claim Expenses, Damages, Loss or Breach
      Mitigation Expense which results from any Claim, Unauthorized Access, or Unintentional Data Compromise:
       1. Caused by access to the Company’s or Organization’s Electronic Communications System by any
          government, governmental agency or subagency, or any agents thereof while acting on behalf of such entity;
       2. Due to riot, civil commotion, war, insurrection or usurped power;
       3. Based upon or arising out of Bodily Injury or Property Damage;
       4. Based upon or arising out of liability of others assumed by the Insured under any contract or agreement;
          provided, however, this exclusion shall not apply to liability an Insured would have in the absence of such
          contract or agreement;
       5. Based upon, arising out of, or any way involving any actual or alleged violation of any law, whether statutory,
          regulatory or common law, respecting any of the following activities: antitrust, business competition, unfair
          trade practices or tortious interference in another’s business or contractual relationships;
       6. Based upon, arising out of, or in any way involving conduct of the Insured or at the Insured’s direction that is
          intentional, willful, dishonest, fraudulent or that constitutes a willful violation of any statute or regulation;
          provided, however, this exclusion shall not apply to: (a) the strictly vicarious liability of any Insured for the
          intentional, willful, dishonest or fraudulent conduct of another Insured or for the conduct of another Insured that
          constitutes a willful violation of any statute or regulation; or (b) Claim Expenses incurred until an allegation is
          adjudicated through a finding by a trier-of-fact to be intentional, willful, dishonest or fraudulent or a willful
          violation of any statute or regulation;

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      7. Based upon, arising out of, or in any way involving any:
          (a) Actual, alleged or threatened discharge, disposal, migration, dispersal, release or escape of Pollutants; or
          (b) Direction, order or request to test for, monitor, remediate, clean up, remove, contain, treat, detoxify or
              neutralize Pollutants, or to pay for or contribute to the costs of undertaking such actions;
      8. Brought by or on behalf of any Employee, former Employee or prospective Employee based upon, arising out
         of, or in any way involving the employment relationship or the nature, terms or conditions of employment or any
         workplace tort; provided, however, this exclusion shall not apply to any Claim arising out of Unauthorized
         Access or Potential Unauthorized Access;
      9. Brought by, in the name of, or on behalf of any past or current principal, partner, officer, director, trustee,
         securityholder, Employee, Volunteer, manager or member of the Company or Organization; provided,
         however, this exclusion shall not apply:
          (a) To any Claim arising out of Unauthorized Access or Potential Unauthorized Access to the personal
              information of any past or current principal, partner, officer, director, trustee, securityholder, Employee,
              Volunteer, manager or member of the Company or Organization which is in the care, custody or control
              of the Company or Organization; or
          (b) To any Claim based upon, arising out of, or in any way involving an Unauthorized Access or Potential
              Unauthorized Access brought derivatively by one or more securityholders of the Company in their
              capacity as such;
      10. Based upon, arising out of, or in any way involving the insolvency, receivership, bankruptcy, liquidation of the
          Company or Organization or of any subsidiary thereof whether or not included in the definition of Insured;
      11. Based upon or arising out of any warranties or guarantees, express, implied or otherwise, or any cost estimates;
      12. Based upon or arising out of any conversion, misappropriation, commingling of or defalcation of funds or
          property;
      13. Based upon or arising out of any inability or failure of any party to pay or collect monies; or
      14. Based upon, arising out of or in any way involving any actual or alleged infringement or inducement of
          infringement of copyright, patent, trademark, trade name, trade dress or service mark, or the actual or alleged
          misappropriation of ideas or trade secrets or confidential and proprietary information acquired by the Company
          or Organization.
   B. With respect to DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part if an
      EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART is
      purchased and attached to this policy, this endorsement does not apply to any Claim:
      1. Made by any person or organization which is operated, managed or owned, in whole or in part, by the
         Company or Organization or any parent company, organization, subsidiary, division or affiliated company or
         organization thereof.
   C. With respect to DataBreachSM COVERAGE B. - Data Breach Loss to Insured Coverage Part, this endorsement
      does not apply to any Loss:
      1. Caused by theft, physical damage or destruction of the Company’s or Organization’s Electronic
         Communications System or any part thereof; provided, however, this exclusion shall not apply to
         destruction of programs, electronic data and media caused by an Unauthorized Access;
      2. Based upon or arising out of theft, or alleged theft, of money, securities, bonds, or similar financial
         instruments with monetary value caused or contributed to by any fraudulent, dishonest or criminal act
         committed by any person who is a past or current principal, partner, officer, director, trustee, securityholder,
         Employee, Volunteer Worker, manager or member of the Company or Organization at the time of the
         Unauthorized Access, whether acting alone or in collusion with others; or
      3. Reflecting or purportedly reflecting the value of trade secrets, confidential processing methods or other
         confidential or proprietary information.
4. Solely with respect to the Coverages afforded by this endorsement, GENERAL TERMS AND CONDITIONS,
   SECTION III - LIMITS OF LIABILITY, RETENTION, COINSURANCE AND SINGLE CLAIMS is amended by the
   addition of the following:
   F. LIMITS OF LIABILITY FOR DataBreachSM COVERAGES


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      1. Limit of Liability - DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part -
         Each Claim: The liability of the Insurer under DataBreachSM COVERAGE A. - Data Breach and Privacy
         Liability Coverage Part for the total of Damages for each Claim first made against the Insured during the
         Policy Period, Automatic Extended Reporting Period or Extended Reporting Period, if exercised, and
         reported to the Insurer pursuant to GENERAL TERMS AND CONDITIONS, SECTION V – REPORTING AND
         NOTICE A., Notice of Claims, shall not exceed the amount stated in the Schedule of this endorsement as
         applicable to Each Claim.
      2. Limit of Liability - DataBreachSM COVERAGE B. - Data Breach Loss to Insured Coverage Part - Each
         Unauthorized Access: The liability of the Insurer under DataBreachSM COVERAGE B. - Data Breach Loss
         to Insured Coverage Part for all Loss resulting directly from each Unauthorized Access which occurs during
         the Policy Period and is reported to the Insurer pursuant to GENERAL TERMS AND CONDITIONS,
         SECTION V – REPORTING AND NOTICE D., Loss Reporting Provision, shall not exceed the amount stated
         in the Schedule of this endorsement as applicable to Each Unauthorized Access.
      3. Limit of Liability – DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part - Each
         Unintentional Data Compromise: The liability of the Insurer under DataBreachSM COVERAGE C. - Breach
         Mitigation Expense Coverage Part for Breach Mitigation Expense for any Unintentional Data Compromise
         which occurs during the Policy Period and is reported to the Insurer pursuant to GENERAL TERMS AND
         CONDITIONS, SECTION V – REPORTING AND NOTICE E., Breach Mitigation Expense Reporting
         Provision, shall not exceed the amount stated in the Schedule of this endorsement as applicable to Each
         Unintentional Data Compromise.
      4. Limit of Liability - Aggregate: Subject to the above Limits of Liability 1., 2. and 3., the combined total
         liability of the Insurer for all coverage afforded by all Coverage Parts of this endorsement shall not exceed the
         amount stated in the Schedule of this endorsement as Aggregate.
      5. Multiple Insureds, Claims, Losses and Claimants: The inclusion herein of more than one Insured in any
         Claim or the making of Claims by, or reporting of Loss or Breach Mitigation Expense incurred by, more
         than one person or organization shall not operate to increase the Limits of Liability stated in this endorsement.
          a. With regard to DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part, more
             than one Claim arising out of a single Unauthorized Access or Interrelated Unauthorized Accesses
             shall be treated as a single Claim. Such single Claim shall be deemed first made on the date on which
             the earliest Claim arising out of such Unauthorized Access or Interrelated Unauthorized Accesses is
             made or with regard to notice given to and accepted by the Insurer pursuant to GENERAL TERMS AND
             CONDITIONS, SECTION V – REPORTING AND NOTICE F. Discovery of Potential Claims, on the date
             within the Policy Period on which such notice of potential Claim is first received by the Insurer.
          b. With regard to DataBreachSM COVERAGE B. - Data Breach Loss to Insured Coverage Part, more than one
             Loss arising out of a single Unauthorized Access shall be considered a single Unauthorized Access.
          c. With regard to DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part, all Breach
             Mitigation Expenses arising out of a single Unintentional Data Compromise or a series of related
             Unintentional Data Compromises, shall be treated as a single Unintentional Data Compromise.
   G. RETENTION
      The Insurer’s liability with respect to Damages for each Claim, Loss for each Unauthorized Access and Breach
      Mitigation Expense for each Unintentional Data Compromise shall apply only to that amount which is excess
      of the applicable Retention stated in the Schedule of this endorsement, and such Retention shall be borne by the
      Insured uninsured and at the Insured's own risk.
5. Solely with respect to the Coverages afforded by this endorsement, GENERAL TERMS AND CONDITIONS,
   SECTION IV – DEFENSE, SETTLEMENT AND COOPERATION is amended by the addition of the following:
   C. DEFENSE AND SETTLEMENT OF DataBreachSM COVERAGES
      1. Defense and Investigation of Claims: With regard to DataBreachSM COVERAGE A. - Data Breach and
         Privacy Liability Coverage Part, the Insurer shall have the right and duty to defend any Claim covered
         hereunder, even if the claim is groundless, false or fraudulent, and to investigate any Claim to which coverage
         afforded by this endorsement under DataBreachSM COVERAGE A. - Data Breach and Privacy Liability
         Coverage Part applies pursuant to the following provisions:
          a. Claim Expenses incurred in defending and investigating such Claim shall be in addition to the applicable
             Limits of Liability stated in this endorsement. Such Claim Expenses shall not reduce the applicable Limits


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               of Liability. The Insurer shall have no obligation to pay any Damages after the applicable Limits of Liability
               have been exhausted by payment(s) of Damages.
           b. The Insurer shall select defense counsel; provided, however, that if the law of the state of the Company’s
              or Organization’s domicile, stated in the Declarations, allows the Insured to control the selection of
              defense counsel where a conflict of interest has arisen between the Insured and the Insurer, the Insurer will
              provide a list of attorneys or law firms from which the Insured may designate defense counsel who shall act
              solely in the interest of the Insured, and the Insured shall direct such defense counsel to cooperate with the
              Insurer. Such cooperation shall include:
               (1) Providing on a regular basis, but not less frequently than every three (3) months, written reports on
                   claimed Damages, potential liability, progress of any litigation, any settlement demands, or any
                   investigation developments that materially affect the Claim;
               (2) Providing any other reasonable information requested;
               (3) Providing fully itemized billing on a periodic basis; and
               (4) Cooperating with the Insurer and the Insured in resolving any discrepancies;
               And the fees and costs incurred by such defense counsel, including those fees and costs generated by
               cooperation with the Insurer, as set forth above, shall be included in Claim Expenses.
           c. The determination of the Insurer as to the reasonableness of the Claim Expenses shall be conclusive on
              the Company or Organization.
       2. Claim Settlement: The Insurer may, at its sole discretion, investigate, negotiate and settle any Claim. The
          Company or Organization will abide by the terms of such settlement. The Insureds agree not to settle or offer
          to settle any Claim, incur any Claim Expenses or otherwise assume any contractual obligation, admit any
          liability or stipulate to any judgment with respect to any Claim, without the Insurer’s written consent, which shall
          not be unreasonably withheld. The Insurer shall not be liable for or as a result of any offer to settle, settlement,
          Claim Expenses, assumed obligation, admission or stipulated judgment to which it has not given its prior
          written consent. The Insured shall not, with respect to any Claim covered under this endorsement, except at
          his/her own cost, make any payment, admit any liability, settle any Claim, assume any obligation, agree to
          arbitration or any similar means of resolution of any dispute, waive any rights or incur Claim Expenses without
          the Insurer's prior written consent, such consent not to be unreasonably withheld. Any costs and expenses
          incurred by the Insured prior to the Insured giving written notice of the Claim to the Insurer shall be borne by
          the Insured.
       3. Loss or Breach Mitigation Expense Payment: The Insurer may, at its sole discretion, investigate any Loss,
          any Breach Mitigation Expense, any Unintentional Data Compromise and any Unauthorized Access or
          Potential Unauthorized Access. The Insurer will indemnify the Company or Organization within sixty (60)
          days after it receives the sworn proof of Loss under DataBreachSM COVERAGE B. - Data Breach Loss to
          Insured Coverage Part or satisfactory written proof of payment of Breach Mitigation Expenses under
          DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part, provided: (1) the Insured has
          complied with all the terms of this endorsement; and (2) the Insurer and the Company or Organization have
          agreed with the items included within and the amounts documented in the Company’s or Organization’s sworn
          proof of Loss and satisfactory written proof of payment of Breach Mitigation Expenses.
   D. COOPERATION
       With respect to the Coverages afforded by this endorsement, the Insureds agree to provide the Insurer with all
       information, assistance, and cooperation which the Insurer reasonably requests and agree that in the event of a
       Claim, the Insureds will do nothing that shall prejudice the Insurer’s position or its potential or actual rights of
       recovery. Without limiting the foregoing and upon the Insurer's request, the Insured shall: (1) attend hearings,
       depositions, arbitrations, mediations and trials; and (2) assist in effecting settlement, and securing and giving
       evidence.
6. Solely with respect to the Coverages afforded by this endorsement, GENERAL TERMS AND CONDITIONS,
   SECTION V – REPORTING AND NOTICE is amended by the addition of the following:
   D. Loss Reporting Provision: It is a condition precedent to coverage afforded by this endorsement under
      DataBreachSM COVERAGE B. - Data Breach Loss to Insured Coverage Part that the Company or Organization
      shall give to the Insurer written notice as stated in the Notices item of the Declarations as soon as practicable and in
      no event later than sixty (60) days after the end of the Policy Period of any Loss which results directly from an
      Unauthorized Access which occurs during the Policy Period.


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       In the event of any Loss, the Insured must:
       1. Notify law enforcement in the event of a theft;
       2. Give the Insurer prompt notice of the Unauthorized Access;
       3. As soon as practicable, provide a description of how, when and what elements of the Company’s or
          Organization’s Electronic Communications System were impacted by the Unauthorized Access;
       4. Take all reasonable steps to protect the Company’s or Organization’s Electronic Communications System
          from further Unauthorized Access and to reduce Loss;
       5. As often as may be reasonably required, permit the Insurer to inspect the Company’s or Organization’s
          Electronic Communications System and examine the Insured’s books and records related to the Loss
          incurred; and
       6. Provide, within sixty (60) days of the Insurer’s request, a sworn proof of Loss, signed by the Company or
          Organization, containing the information the Insurer requests to investigate the Loss.
   E. Breach Mitigation Expense Reporting Provision: It is a condition precedent to coverage afforded by this
      endorsement under DataBreachSM COVERAGE C. - Breach Mitigation Expense Coverage Part that the Company
      or Organization shall give to the Insurer written notice as stated in the Notices item of the Declarations as soon as
      practicable and in no event later than sixty (60) days after the end of the Policy Period of any Unintentional Data
      Compromise, Unauthorized Access or Potential Unauthorized Access which occurs during the Policy Period.
       The Company or Organization must:
       1. Submit to the Insurer satisfactory written proof of payment of such Breach Mitigation Expenses within one (1)
          year after the expiration or cancellation of this policy;
       2. As soon as practicable, provide a description of how, when and what elements, if any, of the Company’s or
          Organization’s or a third party's Electronic Communications System were impacted by the Unintentional
          Data Compromise, Unauthorized Access or Potential Unauthorized Access;
       3. Take all reasonable steps to protect the Company’s or Organization’s Electronic Communications System
          from further Unauthorized Access, if applicable; and
       4. As often as may be reasonably required, permit the Insurer to inspect the Company’s or Organization’s
          Electronic Communications System and examine the Insured’s books and records related to the Breach
          Mitigation Expense incurred.
   F. Discovery of Potential Claims: Under DataBreachSM COVERAGE A. - Data Breach and Privacy Liability
      Coverage Part, if during the Policy Period, the Insured first becomes aware of a specific Unauthorized Access or
      specific Potential Unauthorized Access which is reasonably expected to result in a Claim within the scope of
      coverage of this DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part, then the Insured
      may provide written notice as stated in the Notices item of the Declarations to the Insurer containing the information
      listed below. If such written notice is received by the Insurer during the Policy Period, then any Claim subsequently
      made against the Insured arising out of such Unauthorized Access or Potential Unauthorized Access shall be
      deemed for the purpose of this insurance to have been first made on the date on which such written notice is first
      received by the Insurer.
       It is a condition precedent to the coverage afforded by this Discovery of Potential Claims provision that written notice
       be given to the Insurer containing the following information:
       1. The description of the specific Unauthorized Access or Potential Unauthorized Access;
       2. The date on which such Unauthorized Access or Potential Unauthorized Access took place;
       3. The injury or damage which has or may result from such Unauthorized Access or Potential Unauthorized
          Access;
       4. The identity of any injured persons and/or organization subject to such injury or damage; and
       5. The circumstances by which the Insured first became aware of such Unauthorized Access or Potential
          Unauthorized Access.
       Subject to the paragraph hereinabove, if during the Policy Period the Insured provides such written notice of a
       specific Unauthorized Access or Potential Unauthorized Access which is reasonably expected to result in a
       Claim within the scope of coverage of this DataBreachSM COVERAGE A. - Data Breach and Privacy Liability
       Coverage Part, the Insurer at its sole option, may investigate such specific Unauthorized Access or Potential

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      Unauthorized Access. Such matter shall be subject to all terms, conditions and provisions in this endorsement as
      applicable to a Claim.
7. GENERAL TERMS AND CONDITIONS, SECTION VI – COVERAGE EXTENSIONS C., Extended Reporting Period,
   is deleted and replaced with the following:
   C. EXTENDED REPORTING PERIOD
      1. With regard to DataBreachSM COVERAGE A. - Data Breach and Privacy Liability Coverage Part, the
         Company’s or Organization’s right to exercise the Extended Reporting Period under this endorsement
         shall exist solely if the Company or Organization also exercises its right to purchase the Extended
         Reporting Period under all Insuring Agreements in the policy for which an Extended Reporting Period is
         available.
      2. In the event of a Termination of Coverage, the Parent Company or Parent Organization shall have the
         right to an Automatic Extended Reporting Period. Coverage as provided under this policy shall automatically
         continue for a period of sixty (60) days following the effective date of such Termination of Coverage, but
         such coverage shall only apply to Claims first made against the Insureds during such period of sixty (60)
         days following immediately upon the effective date of such Termination of Coverage, by reason of any:
          a. Wrongful Act as covered under the DIRECTORS AND OFFICERS LIABILITY COVERAGE PART, the
             EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART,
             and/or the FIDUCIARY LIABILITY COVERAGE PART, if such Coverage Part is purchased and attached
             to this policy, and which happened prior to the effective date of such Termination of Coverage; and
          b. Unauthorized Access or Potential Unauthorized Access the entirety of which happened during the
             Policy Period or on or after the Retroactive Date stated in Section Insuring Agreement, DataBreachSM
             COVERAGE A. - Data Breach and Privacy Liability Coverage Part, Item 1., and prior to the effective date
             of such Termination of Coverage;
          and which is otherwise covered by the applicable Coverage Part of this policy.
          This period shall be referred to herein as the Automatic Extended Reporting Period.
          Upon Termination of Coverage the Automatic Extended Reporting Period shall apply solely with regard
          to the coverage terminated.
      3. In the event of a Termination of Coverage the Parent Company or Parent Organization shall have the
         right to purchase an Extended Reporting Period. Upon payment of the applicable additional premium stated
         in the Declarations, the coverage granted by this policy for the respective period stated in the Declarations
         immediately following the Termination of Coverage, but such extension of coverage shall only apply to
         Claims first made against the Insureds during such period for any:
          a. Wrongful Act as covered under the DIRECTORS AND OFFICERS LIABILITY COVERAGE PART, the
             EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART,
             and/or the FIDUCIARY LIABILITY COVERAGE PART, if such Coverage Part is purchased and attached
             to this policy, which happened prior to the effective date of such Termination of Coverage; and
          b. Unauthorized Access or Potential Unauthorized Access the entirety of which happened during the
             Policy Period or on or after the Retroactive Date stated in Section Insuring Agreement, DataBreachSM
             COVERAGE A. - Data Breach and Privacy Liability Coverage Part, Item 1., and prior to the effective date
             of such Termination of Coverage;
          and which is otherwise covered by the applicable Coverage Part of this policy.
          The first sixty (60) days of the Extended Reporting Period, if exercised, shall run concurrently with the
          Automatic Extended Reporting Period.
          Upon Termination of Coverage the Extended Reporting Period shall apply solely with regard to the
          coverage terminated.
      4. The Insurer will provide written notice to the Parent Company or Parent Organization, advising of the
         Automatic Extended Reporting Period and the availability of, the premium for, and the importance of
         purchasing the Extended Reporting Period within thirty (30) days after the effective date of Termination of
         Coverage.
      5. This right to purchase the Extended Reporting Period shall lapse unless written notice of such election,
         together with payment of the additional premium due, is given by the Parent Company or Parent


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           Organization to the Insurer within thirty (30) days after the mailing or delivery of the written notice from the
           Insurer specified in subparagraph 4. above, whichever is greater. If such written request and payment of
           additional premium are not received by the Insurer within such thirty (30) days, there shall be no right to
           purchase the Extended Reporting Period at a later date.
       6. Notwithstanding anything contained herein to the contrary, if the claims-made relationship between the
          Parent Company or Parent Organization and the Insurer has continued for less than one (1) year and the
          policy was canceled for nonpayment of premium or fraud, the Automatic Extended Reporting Period shall
          not apply and the Parent Company or Parent Organization shall not have the right to purchase the
          Extended Reporting Period.
       7. The entire additional premium for the Extended Reporting Period shall be deemed fully earned at the
          inception of the Extended Reporting Period.
       8. Upon Termination of Coverage, the aggregate limit of liability for the Automatic Extended Reporting
          Period shall be equal to the amount of coverage remaining in the Policy Aggregate limit of liability.
           Where a claims-made relationship has continued for at least three (3) years, the aggregate liability limit for the
           Extended Reporting Period coverage, if exercised, shall be at least equal to one hundred percent (100%) of
           the Policy Aggregate limit of liability as stated in the Declarations. Where a claims-made relationship has
           continued for less than three (3) years, the aggregate liability limit for the Extended Reporting Period
           coverage, if exercised, shall be equal to the greater of:
           (i) the amount of coverage remaining in the Policy Aggregate limit of liability; or
           (ii) fifty percent (50%) of the Policy Aggregate limit of liability.
       9. In the event the Parent Company or Parent Organization is in liquidation or bankruptcy, or permanently
          ceases operation, and if the Parent Company or Parent Organization or its designated trustee, although
          entitled to, does not purchase the Extended Reporting Period, any Insured requesting the Extended
          Reporting Period within one hundred twenty (120) days of the Termination of Coverage, may purchase the
          Extended Reporting Period, as provided above.
       10. A person employed or otherwise affiliated with the Parent Company or Parent Organization and covered by
           this policy during such affiliation shall continue to be covered under this policy and any Extended Reporting
           Period, if exercised, after such affiliation has ceased for such person’s covered acts or omissions during such
           affiliation.
       11. In the event similar insurance to that provided by this policy is in force during the Extended Reporting
           Period, the coverage afforded during the Extended Reporting Period shall be excess over any valid and
           collectible insurance.
8. Solely with respect to the Coverages afforded by this endorsement, GENERAL TERMS AND CONDITIONS, SECTION
   XI – OTHER INSURANCE is deleted and replaced with the following:
   OTHER INSURANCE
   If any Loss resulting from any Claim or any Claim Expenses, Damages, Loss or Breach Mitigation Expense
   subject to the Coverages afforded by this endorsement is insured by any other valid and collectible policy issued to
   any Insured, then this policy shall apply only in excess of the amount of any deductibles, retentions, co-insurance and
   limits of liability under such other policy whether such other policy is stated to be primary, contributory, excess,
   contingent or otherwise, unless such other policy is written specifically excess of this policy by reference in such other
   policy to this policy’s policy number.
   With regard to coverage for any Leased Worker who is included in the definition of Employee, this policy shall be
   specifically excess of any indemnification or insurance otherwise available to such Leased Worker from the
   applicable leasing company or any other source.
9. Solely with respect to the Coverages afforded by this endorsement, GENERAL TERMS AND CONDITIONS,
   SECTION XV – TERRITORY AND VALUATION is deleted and replaced with the following:
   TERRITORY AND VALUATION
   The insurance afforded by this endorsement applies worldwide, provided the Claim is made or the Loss or Breach
   Mitigation Expense is incurred in the United States of America, its territories or possessions or Puerto Rico.



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   All premiums, limits, retentions, Claim Expenses, Damages, Loss or Breach Mitigation Expense and other
   amounts under this policy are expressed and payable in the currency of the United States of America. If judgment is
   rendered, settlement is denominated or another element of Loss under this policy is stated in a currency other than
   United States dollars, payment under this policy shall be made in United States dollars at the rate of exchange
   published in The Wall Street Journal on the date the final judgment is reached, the amount of the settlement is agreed
   upon or the other element of Claim Expenses, Damages, Loss or Breach Mitigation Expense is due, respectively.
10. GENERAL TERMS AND CONDITIONS, SECTION XIX – MITIGATION is added as follows:
   MITIGATION
   It is a condition precedent to coverage that the Insured shall not willfully fail to comply with any Security Breach
   Notice Law that the Company or Organization may be subject to, by reason of an Unauthorized Access or
   Potential Unauthorized Access.
11. The following provisions of the GENERAL TERMS AND CONDITIONS, as amended where applicable, shall also apply
    to the coverage afforded by this endorsement.
   SECTION I – TERMS AND CONDITIONS
   SECTION VIII – CHANGES IN EXPOSURE
   SECTION IX – REPRESENTATIONS, SEVERABILITY AND NON-RESCINDABLE COVERAGES
   SECTION X – CANCELLATION AND NONRENEWAL
   SECTION XII – SUBROGATION
   SECTION XIII – ALTERATION, ASSIGNMENT AND HEADINGS
   SECTION XIV – PAYMENT PRIORITY
   SECTION XVI – AUTHORIZATION CLAUSE
   SECTION XVII – BANKRUPTCY




   All other terms and conditions remain unchanged.




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                                                                                         MANAGEMENT LIABILITY
                                                                                POLICY NUMBER: MKLC1MML000060




                               MARKEL INSURANCE COMPANY

                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                       EXCLUSION - BROAD PROFESSIONAL LIABILITY

This endorsement modifies all insurance provided under the following for which a check mark  appears:

 DIRECTORS AND OFFICERS LIABILITY COVERAGE PART
 DIRECTORS AND OFFICERS AND ORGANIZATION LIABILITY COVERAGE PART
 EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART
 FIDUCIARY LIABILITY COVERAGE PART

In consideration of the premium paid, it is hereby understood and agreed that the policy is amended as follows:
1. With respect to the above marked Coverage Part(s), SECTION - EXCLUSIONS is amended by the addition of the
    following exclusion:
   The Insurer shall not be liable to pay any Loss on account of, and shall not be obligated to defend, any Claim based
   upon, arising out of, or in any way involving any actual or alleged error, misstatement, misleading statement, act,
   omission, neglect, or breach of duty in connection with the rendering or failure to render any professional services.
   This exclusion shall not apply to any Insured Person against whom a Claim is made alleging such Insured Person
   failed to supervise the rendering of or failure to render any professional services excluded above. However, the
   Insurer’s liability for Loss for such covered Claim shall be limited to Loss arising from the failure to supervise the
   rendering of or failure to render professional services only.
2. DIRECTORS AND OFFICERS LIABILITY COVERAGE PART SECTION - EXCLUSIONS L.4. is deleted.



All other terms and conditions remain unchanged.




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                                                                                              MANAGEMENT LIABILITY
                                                                                     POLICY NUMBER: MKLC1MML000060




                                MARKEL INSURANCE COMPANY

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     SPECIFIC MATTER EXCLUSION

 This endorsement modifies all insurance provided under the following for which a check mark (X) appears:

  DIRECTORS AND OFFICERS LIABILITY COVERAGE PART
  EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART
  FIDUCIARY LIABILITY COVERAGE PART

                                                      SCHEDULE

  Specific Matter:
  1. Shawn Socoloff vs Lion Holdco LP, Claim Reference #2013005609-1
  2. Laralyn Mowers vs Lion Holdco LP , Claim Reference #2014008376-1
  3. Michelle Moyer vs Lion Holdco LP , Claim Reference #2015016221-1
  4. Dominique Templier vs Lion Holdco Lp, Claim Reference #2015026177-1
  5. Georgieff co-InvestGmbH & Co. KG and Morris NextGen, LLC vs Lion Holdco LP , Claim Reference # 2016013830-1




In consideration of the premium paid, it is hereby understood and agreed that the Insurer shall not be liable under the
Coverage Part(s) for which a check mark (X) appears above to pay any Loss on account of, and shall not be obligated to
defend, any Claim made against any Insured based upon, arising from, or in consequence of any fact, circumstance or
situation underlying or alleged in any Specific Matter or any substantially similar fact, circumstance or situation.
For purposes of this endorsement, Specific Matter means any matter shown in the Schedule above, and shall include any
claimant(s) named above or associated in any manner with any matter shown in the Schedule above.




All other terms and conditions remain unchanged.




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                                                                                             MANAGEMENT LIABILITY
                                                                                    POLICY NUMBER: MKLC1MML000060




                                 MARKEL INSURANCE COMPANY

                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                CONSUMER PROTECTION EXCLUSION

This endorsement modifies all insurance provided under the following for which a check mark (X) appears:

   DIRECTORS AND OFFICERS LIABILITY COVERAGE PART
   DIRECTORS AND OFFICERS AND ORGANIZATION LIABILITY COVERAGE PART
   EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART
   FIDUCIARY LIABILITY COVERAGE PART


In consideration of the premium paid, it is hereby understood and agreed that SECTION IV – EXCLUSIONS is amended
by the addition of the following exclusion
The Insurer shall not be liable under any purchased Coverage Part to pay any Loss on account of, and shall not be
obligated to defend, any Claim made against any Insured:
    Based upon, arising out of, or in any way involving any Wrongful Act or Interrelated Wrongful Acts that violate(s) or
    is(are) alleged to violate any federal or state consumer protection statute, law, rule, ordinance or regulation including,
    but not limited to:
    1. The Telephone Consumer Protection Act of 1991 (TCPA), any amendment thereto or any similar or related
       federal or state statute, law, rule, ordinance or regulation;
    2. The CAN-SPAM Act of 2003, any amendment thereof or any similar or related federal or state statute, law, rule,
       ordinance or regulation;
    3. Any federal, state or local statute, law, rule, ordinance or regulation, other than the TCPA or CAN-SPAM Act of
       2003 and their amendments and additions, that addresses, prohibits, or limits the printing, interception,
       dissemination, disposal, collecting, recording, sending, transmitting, communicating, distribution or receiving of
       private material, private communications or private information.



All other terms and conditions remain unchanged.




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                                                                                                 MANAGEMENT LIABILITY




                                 MARKEL INSURANCE COMPANY

                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                          NEW YORK AMENDATORY
This endorsement modifies insurance provided under the following:

GENERAL TERMS AND CONDITIONS
DIRECTORS AND OFFICERS AND COMPANY LIABILITY COVERAGE PART
EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART
FIDUCIARY LIABILITY COVERAGE PART


I.   GENERAL TERMS AND CONDITIONS is amended as follows:
     A. The phrase “during the Policy Period and the Extended Reporting Period, if exercised” wherever it appears is
        replaced by “during the Policy Period, the Automatic Extended Reporting Period and the Extended Reporting
        Period, if exercised”.
        The phrase “during the Policy Period or the Extended Reporting Period, if exercised” wherever it appears is
        replaced by “during the Policy Period, the Automatic Extended Reporting Period or the Extended Reporting
        Period, if exercised”.
     B. SECTION II – DEFINITIONS is amended as follows:
        1.       Definition C. Claim Expenses is replaced by the following:
             C. Claim Expenses means reasonable and necessary fees, costs and expenses incurred by the Insurer or
                the Insureds in the defense or appeal of that portion of any Claim for which coverage is afforded under
                this policy, including without limitation court costs, costs of bonds to release attachments and similar
                bonds, but without any obligation of the Insurer to apply for or furnish any such bonds; provided, however,
                that Claim Expenses shall not include salary, wages, overhead, benefit expenses or charges of any kind
                associated with Insured Persons or the Insurer.
        2.       Definition E. Domestic Partner is replaced by the following:
             E. Domestic Partner means any natural person qualifying as a domestic partner of a same sex couple
                legally married in another jurisdiction.
        3.       Definition W. Pollutants is replaced by the following:
             W. Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke, vapor,
                soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled, reconditioned
                or reclaimed.
        4.       Definition DD. Third Party Discrimination Claim is replaced by the following:
             DD.Third Party Discrimination Claim means a Claim, as defined in the applicable Coverage Part, other
                than an Employment Practices Claim, which is brought by or on behalf of any natural person who is not
                an Insured Person or an applicant for employment with the Company, for a Wrongful Act that
                constitutes an actual or alleged violation of any law or public policy concerning harassment or
                discrimination.
                 Such coverage shall be afforded solely for:
                 1. Vicarious liability for discrimination or harassment; or
                 2. Disparate impact from harassment.

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      5.       The following is added to Definition II. Wrongful Employment Practices:
           To the extent this policy provides coverage for employment discrimination, coverage shall be afforded solely
           for vicarious liability for employment discrimination and disparate impact discrimination in employment. To the
           extent this policy provides coverage for sexual or other harassment in the workplace, coverage shall be
           afforded solely for vicarious liability for sexual or other harassment in the workplace.
      6.       The following definition is added.
           Termination of Coverage means:
           1. The cancellation or nonrenewal of this policy, whether by the Parent Company or the Insurer; or
           2. If the Insurer offers to renew this policy on an other than claims-made basis or on terms which involve a
              decrease in the limits of liability, reduction in coverage, increased retention, the addition of an exclusion
              or any other change in coverage less favorable to the Parent Company.
           Termination of Coverage does not mean the:
           1. Quotation of a different premium for the renewal of this policy; or
           2. Expiration of the Automatic Extended Reporting Period or the Extended Reporting Period, if exercised.
   C. Paragraph A. Defense and Settlement of SECTION IV – DEFENSE, SETTLEMENT AND COOPERATION is
      amended as follows:
      1. Paragraph 1. is replaced by the following:
           1. If duty to defend coverage is purchased with respect to any Coverage Part as stated in Item 5. Coverage
              Schedule of the Declarations:
               a. The Insurer shall have the right and duty to defend any Claim covered under such Coverage Part,
                  even if any of the allegations are groundless, false or fraudulent. Upon exhaustion of the Limit of
                  Liability applicable to a Claim, the Insurer’s duty to defend such Claim shall cease upon a final
                  determination of liability.
               b. The Insured will have the option to select defense counsel or consent to the Insurer’s choice of
                  defense counsel, which consent shall not be unreasonably withheld. Provided, however, if the
                  Insured selects defense counsel, the rate and fees charged by such defense counsel must be
                  reasonable. For purposes of this provision, the factors to be considered in determining the
                  reasonableness of a fee charged by such defense counsel and any person assisting him or her
                  include the following:
                   (1) The time and labor required, the novelty and difficulty of the questions involved, and the skill
                       requisite to perform the legal service properly;
                   (2) The fee customarily charged in the locality for similar legal services;
                   (3) The nature and length of the professional relationship with the Insured; and
                   (4) The experience, reputation, and ability of the attorney or attorneys performing the services.
               c. If the Insured selects defense counsel, the Insured shall assist in the direction of defense of any
                  Claim and shall direct such defense counsel to cooperate with the Insurer. Such cooperation shall
                  include:
                   (1) Providing to the Insurer on a regular basis, but not less frequently than every three (3) months,
                       written reports on claimed damages, potential liability, progress of any litigation, any settlement
                       demands, or any investigation developments that materially affect the Claim;
                   (2) Providing to the Insurer any other reasonable information requested by the Insurer;
                   (3) Providing to the Insurer fully itemized Claim Expenses billings on a periodic basis; and
                   (4) Good faith efforts to resolve any Claim Expenses disputes with the Insurer and the Insured.
                   Fees and costs incurred by such defense counsel at the Insurer’s request or to cooperate with the
                   Insurer, as set forth above, shall be included in Claim Expenses.
      2. Paragraph 2. is deleted.



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   D. Subparagraph 1. of paragraph A. Notice of Claims of SECTION V – REPORTING AND NOTICE is replaced by
      the following:
      1. As a condition precedent to their rights under such Coverage Part, the Insureds shall give to the Insurer
         written notice of any Claim made against the Insureds as soon as practicable after an Executive Officer or
         an Employee of the Company’s office of general counsel, risk management or functionally equivalent
         departments, if any, first learns of such Claim. Failure by the Insured to give such notice shall not invalidate
         any Claim under this policy if the Insured shows that it was not reasonably possible to give such notice within
         the prescribed time and that notice was given as soon as reasonably possible. Written notice of any Claim
         may be given to the Insurer by a third party. Written notice of any Claim may also be provided by the Insured
         to any authorized agent of the Insurer located within the State of New York.
   E. SECTION VI – COVERAGE EXTENSIONS is amended as follows:
      Paragraph C. Extended Reporting Period is replaced by the following:
      C. AUTOMATIC AND EXTENDED REPORTING PERIODS
          1. In the event of a Termination of Coverage, the Parent Company shall have the right to an Automatic
             Extended Reporting Period. Coverage as provided under this policy shall automatically continue for a
             period of sixty (60) days following the effective date of such Termination of Coverage, but such
             coverage shall only apply to Claims first made against the Insureds during such period of sixty (60) days
             following immediately after the effective date of such Termination of Coverage, by reason of any
             Wrongful Act which happened prior to the effective date of such Termination of Coverage and which is
             otherwise covered by this policy. This period shall be referred to herein as the Automatic Extended
             Reporting Period.
              Upon Termination of Coverage the Automatic Extended Reporting Period shall apply solely with regard
              to the coverage terminated.
          2. In the event of a Termination of Coverage the Insureds shall have the right to purchase an Extended
             Reporting Period. Upon payment of the applicable additional premium stated in the Declarations, the
             coverage granted by this policy for the respective period stated in the Declarations immediately following
             the Termination of Coverage, but such extension of coverage shall only apply to Claims first made
             against the Insureds during such period for any Wrongful Act which happened prior to the effective date
             of the Termination of Coverage.
              Upon Termination of Coverage the Extended Reporting Period shall apply solely with regard to the
              coverage terminated.
          3. The Insurer will provide written notice to the Parent Company advising of the Automatic Extended
             Reporting Period and the availability of, the premium for, and the importance of purchasing the Extended
             Reporting Period within thirty (30) days after the effective date of Termination of Coverage.
          4. This right to purchase the Extended Reporting Period shall lapse unless written notice of such election,
             together with payment of the additional premium due, is given by the Insured to the Insurer within sixty
             (60) days after the effective date of Termination of Coverage or within thirty (30) days after the mailing
             or delivery of the written notice from the Insurer specified in Paragraph C.3. above, whichever is greater.
             If such written request and payment of additional premium are not received by the Insurer within the
             required time period, there shall be no right to purchase the Extended Reporting Period at a later date.
          5. Notwithstanding anything contained herein to the contrary, if the claims-made relationship between the
             Parent Company and the Insurer has continued for less than one (1) year and the policy was cancelled
             for nonpayment of premium or fraud, the Automatic Extended Reporting Period shall not apply and the
             Insureds shall not have the right to purchase the Extended Reporting Period.
          6. The entire additional premium for the Extended Reporting Period shall be deemed fully earned at the
             inception of the Extended Reporting Period.
          7. Upon Termination of Coverage, the aggregate limit of liability for the Automatic Extended Reporting
             Period shall be equal to the amount of coverage remaining in the Policy Aggregate Limit of Liability.
              Where a claims-made relationship has continued for at least three (3) years, the aggregate limit of liability
              for the Extended Reporting Period coverage, if exercised, shall be at least equal to one hundred
              percent (100%) of the Policy Aggregate Limit of Liability as stated in the Declarations. Where a claims-
              made relationship has continued for less than three (3) years, the aggregate limit of liability for the
              Extended Reporting Period coverage, if exercised, shall be equal to the greater of:

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                   a. The amount of coverage remaining in the Policy Aggregate Limit of Liability; or
                   b. Fifty percent (50%) of the Policy Aggregate Limit of Liability.
               8. In the event the Parent Company is in liquidation or bankruptcy, or permanently ceases operations, and
                  if the Parent Company or its designated trustee, although entitled to, does not purchase the Extended
                  Reporting Period, any Insured requesting the Extended Reporting Period within one hundred twenty
                  (120) days of the Termination of Coverage, may purchase the Extended Reporting Period, as
                  provided above.
               9. A person employed or otherwise affiliated with the Parent Company and covered by this policy during
                  such affiliation shall continue to be covered under this policy and any Extended Reporting Period, if
                  exercised, after such affiliation has ceased for such person’s covered acts or omissions during such
                  affiliation.
               10. In the event insurance similar to that provided by this policy is in force during the Extended Reporting
                   Period, the coverage afforded during the Extended Reporting Period shall be excess over any valid and
                   collectible insurance.
      F. SECTION VII – ALLOCATION is deleted.
      G. SECTION VIII – CHANGES IN EXPOSURE is amended as follows:
           The phrase “end of the Policy Period or the Extended Reporting Period, if exercised” wherever it appears in
           this section is replaced by “end of the Policy Period, the Automatic Extended Reporting Period or the Extended
           Reporting Period, if exercised”.
      H. SECTION X – CANCELLATION AND NONRENEWAL is replaced by the following:
           SECTION X – CANCELLATION AND NONRENEWAL
           A. CANCELLATION
               The Parent Company may cancel this policy or any Coverage Part by mailing to the Insurer written notice
               stating when thereafter such cancellation shall be effective. The Insurer may cancel this policy or any
               Coverage Part only for nonpayment of premium. In such event, the Insurer shall mail or deliver to the Parent
               Company and the Parent Company’s authorized agent or broker written notice of cancellation stating when,
               not less than ten (10) days thereafter, such cancellation shall be effective. Such notice shall inform the Parent
               Company of the amount due. If this policy is cancelled, the Insurer will compute earned premium pro rata. The
               cancellation will be effective even if the Insurer has not made or offered a premium refund.
           B. NONRENEWAL
               If the Insurer decides not to renew this policy, the Insurer will mail or deliver to the Parent Company written
               notice of the nonrenewal at the address stated in the Declarations and to the Parent Company’s authorized
               agent or broker, at least sixty (60) days but not more than one hundred twenty (120) days before the end of
               the Policy Period. Such notice shall contain the specific reasons for the nonrenewal.
      I.   The following provision is added:
           ACTION AGAINST THE INSURER
           As respects any Claim arising out of the death or personal injury of any person, if the Insurer disclaims liability or
           denies coverage based on the failure to provide timely notice, then the injured person or other claimant may
           maintain an action directly against the Insurer, in which the sole question is the Insurer’s disclaimer or denial
           based on the failure to provide timely notice, unless within sixty (60) days following such disclaimer or denial, the
           Insured or Insurer initiates an action to declare the rights of the parties under the policy and names the injured
           person or other claimant as a party to the action.
II.        DIRECTORS AND OFFICERS AND COMPANY LIABILITY COVERAGE PART is amended as follows:
      A. SECTION I – INSURING AGREEMENTS is amended as follows:
           The phrase “during the Policy Period or any applicable Extended Reporting Period, if purchased” wherever it
           appears in this section is replaced by “during the Policy Period, the Automatic Extended Reporting Period or any
           applicable Extended Reporting Period, if purchased”.




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   B. SECTION III – DEFINITIONS is amended as follows:
      1.        Paragraph 1. of Definition B. Claim is replaced by the following:
           1. A written demand against any Insured for monetary damages including a written demand that the
              Insured toll or waive a statute of limitations, commenced by such Insured’s receipt of such written
              demand;
      2.        Definition I. Loss is replaced by the following:
           I.   Loss means the total amount the Insured becomes legally obligated to pay on account of covered
                Claims made against them, including, but not limited to, damages, judgments, any award of pre-judgment
                interest and post-judgment interest with respect to covered damages, settlements, Claim Expenses and
                civil money penalties assessed against an Insured (i) pursuant to Section 2(g)(2)(B) of the Foreign
                Corrupt Practices Act, 15 U.S.C. §78dd-2(g)(2)(B), or (ii) for a violation of any federal, state, local or
                foreign law if such violation is not knowing or willful.
                Solely with respect to Insuring Agreement D, Loss only means Investigative Costs.
                Loss does not include any of the following:
                1. Any amount not indemnified by the Company for which the Insureds are absolved from payment by
                   reason of any covenant, agreement or court order;
                2. Taxes, sanctions, fines or penalties imposed by law, other than civil money penalties expressly
                   referenced above;
                3. Any amount incurred by the Company that represents or is substantially equivalent to an increase in
                   the consideration paid or proposed to be paid by a Company in connection with its purchase of any
                   securities or assets;
                4. Any amount incurred by the Company to comply with any injunctive or other non-monetary relief or
                   any agreement to provide such relief;
                5. Any disgorgement or restitution of ill-gotten gain or rescissionary damages; or
                6. Matters uninsurable under the law pursuant to which this policy is construed.
III. EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART is amended as
     follows:
   A. SECTION I – INSURING AGREEMENTS is amended as follows:
      The phrase “during the Policy Period or during any applicable Extended Reporting Period, if purchased”
      wherever it appears in this section is replaced by “during the Policy Period, the Automatic Extended Reporting
      Period or any applicable Extended Reporting Period, if purchased”.
   B. SECTION III – DEFINITIONS is amended as follows:
      1.        Paragraph 1. of Definition A. Claim is replaced by the following:
           1. A written demand against any Insured for monetary damages including a written demand that the
              Insured toll or waive a statute of limitations, commenced by such Insured’s receipt of such written
              demand;
      2.        Definition E. Loss is replaced by the following:
           E. Loss means the total amount the Insureds become legally obligated to pay on account of covered
              Claims made against them, including, but not limited to, damages (including back pay and front pay),
              judgments, any award of pre-judgment interest and post-judgment interest with respect to covered
              damages, settlements, Claim Expenses, prevailing plaintiff attorney’s fees awarded pursuant to Section
              1988 of the Civil Rights Act, and liquidated damages awarded under the Age Discrimination in
              Employment Act, the Equal Pay Act or the Family Medical Leave Act.
                Loss does not include any of the following:
                1. Any amount not indemnified by the Company for which the Insureds are absolved from payment by
                   reason of any covenant, agreement or court order;
                2. Taxes, sanctions, fines or penalties imposed by law; or
                3. Matters uninsurable under the law pursuant to which this policy is construed.

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IV.      FIDUCIARY LIABILITY COVERAGE PART is amended as follows:
      A. Insuring Agreement A. Fiduciary Liability Coverage of SECTION I – INSURING AGREEMENTS is amended as
         follows:
         The phrase “during the Policy Period or any applicable Extended Reporting Period, if purchased” is replaced
         by “during the Policy Period, the Automatic Extended Reporting Period or any applicable Extended Reporting
         Period, if purchased”.
      B. SECTION III – DEFINITIONS is amended as follows:
         1. Definition A. Administration is replaced by the following:
              A. Administration means (i) giving counsel, other than legal advice, to employees, beneficiaries or Plan
                 participants with respect to any Plan, (ii) providing interpretations with respect to any Plan, (iii) handling
                 records in connection with any Plan, and (iv) enrolling, terminating or canceling employees, beneficiaries
                 or participants under any Plan.
         2.       Paragraph 1. of Definition B. Claim is replaced by the following:
              1. A written demand against any Insured for damages including a written demand that the Insured toll or
                 waive a statute of limitations, commenced by such Insured’s receipt of such written demand;
         3. Definition J. Loss is replaced by the following:
              J. Loss means the total amount the Insureds become legally obligated to pay on account of covered
                 Claims made against them, including, but not limited to, damages, judgments, and any award of pre-
                 judgment interest and post judgment interest with respect to covered damages, settlements, Claim
                 Expenses, and the five percent (5%) or less or the twenty percent (20%) or less civil penalties imposed
                 under §502(i) or (l) of ERISA.
                  Solely with respect to Insuring Agreement B, Loss means only a Voluntary Settlement and Claim
                  Expenses.
                  Loss does not include any of the following:
                  1. Any amount not indemnified by the Company for which the Insureds are absolved from payment by
                     reason of any covenant, agreement or court order;
                  2. Taxes, sanctions, fines or penalties imposed by law, other than civil penalties imposed under §502(i)
                     or (l) of ERISA;
                  3. Any amount incurred by the Company or Plan to comply with any injunctive or other non-monetary
                     relief or any agreement to provide such relief; or
                  4. Matters uninsurable under the law pursuant to which this policy is construed.




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                                                                                      MANAGEMENT LIABILITY
                                                                             POLICY NUMBER: MKLC1MML000060




                                 MARKEL INSURANCE COMPANY

                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             SEPARATE RETENTION ENDORSEMENT
                                   (California Employees)




  This endorsement modifies insurance provided under the following:

  EMPLOYMENT PRACTICES AND THIRD PARTY DISCRIMINATION LIABILITY COVERAGE PART


  It is agreed the Coverage Part listed above is amended as follows:

      1. The Retention applicable to any Employment Practices Claim by or on behalf of an Employee who, during any
         portion of the time period relevant to such Employment Practices Claim, was or is employed by the Company
         in California shall be as follows:

                  $100,000 Each Employment Practices Claim




All other terms and conditions remain the same.




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